B1 (Official Form 1)Case
                     (04/13)   14-52385             Doc 1          Filed 10/06/14             Entered 10/06/14 17:09:46                        Desc Main
                                       UNITED STATES BANKRUPTCYDocument
                                                               COURT                          Page 1 of 67
                                                                                                                                     VOLUNTARY PETITION
                                   MIDDLE DISTRICT OF GEORGIA
                                     __________
 Name of Debtor (if individual, enter Last, First, Middle):                                    Name of Joint Debtor (Spouse) (Last, First, Middle):
Campbell, Luisa F.
 All Other Names used by the Debtor in the last 8 years                                        All Other Names used by the Joint Debtor in the last 8 years
 (include married, maiden, and trade names):                                                   (include married, maiden, and trade names):


 Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN)/Complete EIN                 Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN)/Complete EIN
 (if more than one, state all): 2696                                                           (if more than one, state all):

 Street Address of Debtor (No. and Street, City, and State):                                   Street Address of Joint Debtor (No. and Street, City, and State):
3821 Blossfield Avenue
Macon, Georgia
                                                         ZIP CODE                   31204                                                         ZIP CODE
 County of Residence or of the Principal Place of Business:                                    County of Residence or of the Principal Place of Business:
BIBB
 Mailing Address of Debtor (if different from street address):                                 Mailing Address of Joint Debtor (if different from street address):



                                                           ZIP CODE                                                                                 ZIP CODE
 Location of Principal Assets of Business Debtor (if different from street address above):
                                                                                                                                                    ZIP CODE
                           Type of Debtor                                        Nature of Business                          Chapter of Bankruptcy Code Under Which
                       (Form of Organization)                        (Check one box.)                                           the Petition is Filed (Check one box.)
                          (Check one box.)
                                                                           Health Care Business                              Chapter 7                  Chapter 15 Petition for
  X     Individual (includes Joint Debtors)                                Single Asset Real Estate as defined in            Chapter 9                  Recognition of a Foreign
        See Exhibit D on page 2 of this form.                              11 U.S.C. § 101(51B)                              Chapter 11                 Main Proceeding
        Corporation (includes LLC and LLP)                                 Railroad                                          Chapter 12                 Chapter 15 Petition for
        Partnership                                                        Stockbroker                                 X     Chapter 13                 Recognition of a Foreign
        Other (If debtor is not one of the above entities, check           Commodity Broker                                                             Nonmain Proceeding
        this box and state type of entity below.)                          Clearing Bank
                                                                     X     Other See Attachment 1
                        Chapter 15 Debtors                                       Tax-Exempt Entity                                           Nature of Debts
 Country of debtor’s center of main interests:                                (Check box, if applicable.)                                    (Check one box.)
                                                                                                                           Debts are primarily consumer      X Debts are

                                                                          Debtor is a tax-exempt organization              debts, defined in 11 U.S.C.         primarily
 Each country in which a foreign proceeding by, regarding, or             under title 26 of the United States              § 101(8) as “incurred by an         business debts.
 against debtor is pending:                                               Code (the Internal Revenue Code).                individual primarily for a
                                                                                                                           personal, family, or
                                                                                                                           household purpose.”
                                   Filing Fee (Check one box.)                                                                 Chapter 11 Debtors
                                                                                               Check one box:
  X     Full Filing Fee attached.                                                                  Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                                                   Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
        Filing Fee to be paid in installments (applicable to individuals only). Must attach
        signed application for the court’s consideration certifying that the debtor is         Check if:
        unable to pay fee except in installments. Rule 1006(b). See Official Form 3A.              Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                                                                   insiders or affiliates) are less than $2,490,925 (amount subject to adjustment
        Filing Fee waiver requested (applicable to chapter 7 individuals only). Must               on 4/01/16 and every three years thereafter).
        attach signed application for the court’s consideration. See Official Form 3B.         -----------------------------------
                                                                                               Check all applicable boxes:
                                                                                                   A plan is being filed with this petition.
                                                                                                   Acceptances of the plan were solicited prepetition from one or more classes
                                                                                                   of creditors, in accordance with 11 U.S.C. § 1126(b).
 Statistical/Administrative Information                                                                                                                       THIS SPACE IS FOR
                                                                                                                                                              COURT USE ONLY
           Debtor estimates that funds will be available for distribution to unsecured creditors.
           Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will be no funds available for
           distribution to unsecured creditors.
 Estimated Number of Creditors
  X

 1-49          50-99          100-199           200-999     1,000-         5,001-         10,001-          25,001-           50,001-          Over
                                                            5,000          10,000         25,000           50,000            100,000          100,000

 Estimated Assets
                               X

 $0 to         $50,001 to     $100,001 to       $500,001    $1,000,001     $10,000,001    $50,000,001      $100,000,001      $500,000,001     More than
 $50,000       $100,000       $500,000          to $1       to $10         to $50         to $100          to $500           to $1 billion    $1 billion
                                                million     million        million        million          million
 Estimated Liabilities
                               X

 $0 to         $50,001 to     $100,001 to       $500,001    $1,000,001     $10,000,001    $50,000,001      $100,000,001      $500,000,001     More than
 $50,000       $100,000       $500,000          to $1       to $10         to $50         to $100          to $500           to $1 billion    $1 billion
                                                million     million        million        million          million
B1 (Official Form 1)Case
                     (04/13) 14-52385           Doc 1 Filed 10/06/14 Entered 10/06/14 17:09:46 Desc Main
 Voluntary Petition                                          Document                Page
                                                                                       Name of2    of 67Campbell, Luisa F.
                                                                                                Debtor(s):
 (This page must be completed and filed in every case.)
 All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet.)
 Location                                                                              Case Number:                             Date Filed:
 Where Filed: NONE
 Location                                                                              Case Number:                             Date Filed:
 Where Filed:
 Pending Bankruptcy Case Filed by any Spouse, Partner, or Affiliate of this Debtor (If more than one, attach additional sheet.)
 Name of Debtor:                                                                       Case Number:                             Date Filed:
                        NONE
 District:                                                                                      Relationship:                                    Judge:



                                         Exhibit A                                                                                  Exhibit B
 (To be completed if debtor is required to file periodic reports (e.g., forms 10K and                                (To be completed if debtor is an individual
 10Q) with the Securities and Exchange Commission pursuant to Section 13 or 15(d)                                    whose debts are primarily consumer debts.)
 of the Securities Exchange Act of 1934 and is requesting relief under chapter 11.)
                                                                                                I, the attorney for the petitioner named in the foregoing petition, declare that I have
                                                                                                informed the petitioner that [he or she] may proceed under chapter 7, 11, 12, or 13
                                                                                                of title 11, United States Code, and have explained the relief available under each
                                                                                                such chapter. I further certify that I have delivered to the debtor the notice required
                                                                                                by 11 U.S.C. § 342(b).
        Exhibit A is attached and made a part of this petition.
                                                                                                X
                                                                                                    Signature of Attorney for Debtor(s)       (Date)



                                                                                      Exhibit C
 Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?

        Yes, and Exhibit C is attached and made a part of this petition.

  X     No.


                                                                                      Exhibit D
 (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)

  X    Exhibit D, completed and signed by the debtor, is attached and made a part of this petition.

 If this is a joint petition:

        Exhibit D, also completed and signed by the joint debtor, is attached and made a part of this petition.



                                                                      Information Regarding the Debtor - Venue
                                                                                (Check any applicable box.)
               X       Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
                       preceding the date of this petition or for a longer part of such 180 days than in any other District.

                       There is a bankruptcy case concerning debtor’s affiliate, general partner, or partnership pending in this District.

                       Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District, or has
                       no principal place of business or assets in the United States but is a defendant in an action or proceeding [in a federal or state court] in this
                       District, or the interests of the parties will be served in regard to the relief sought in this District.


                                                   Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                           (Check all applicable boxes.)

                          Landlord has a judgment against the debtor for possession of debtor’s residence. (If box checked, complete the following.)


                                                                                                (Name of landlord that obtained judgment)



                                                                                                (Address of landlord)

                          Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure the
                          entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and

                          Debtor has included with this petition the deposit with the court of any rent that would become due during the 30-day period after the filing
                          of the petition.

                          Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
B1 (Official Form 1)Case
                     (04/13) 14-52385           Doc        1     Filed 10/06/14 Entered 10/06/14 17:09:46                                      Desc Main                     Page 3
 Voluntary Petition                                                Document     Page
                                                                                Name of 3 of 67 Campbell, Luisa F.
                                                                                        Debtor(s):
 (This page must be completed and filed in every case.)
                                                                                     Signatures
                     Signature(s) of Debtor(s) (Individual/Joint)                                                    Signature of a Foreign Representative

 I declare under penalty of perjury that the information provided in this petition is true   I declare under penalty of perjury that the information provided in this petition is true
 and correct.                                                                                and correct, that I am the foreign representative of a debtor in a foreign proceeding,
 [If petitioner is an individual whose debts are primarily consumer debts and has            and that I am authorized to file this petition.
 chosen to file under chapter 7] I am aware that I may proceed under chapter 7, 11, 12
 or 13 of title 11, United States Code, understand the relief available under each such      (Check only one box.)
 chapter, and choose to proceed under chapter 7.
                                                                                                  I request relief in accordance with chapter 15 of title 11, United States Code.
 [If no attorney represents me and no bankruptcy petition preparer signs the petition] I          Certified copies of the documents required by 11 U.S.C. § 1515 are attached.
 have obtained and read the notice required by 11 U.S.C. § 342(b).
                                                                                                  Pursuant to 11 U.S.C. § 1511, I request relief in accordance with the
 I request relief in accordance with the chapter of title 11, United States Code,                 chapter of title 11 specified in this petition. A certified copy of the
 specified in this petition.                                                                       order granting recognition of the foreign main proceeding is attached.

 X    /s/Luisa F. Campbell                                                                   X
      Signature of Debtor                 Luisa F. Campbell                                       (Signature of Foreign Representative)

 X
      Signature of Joint Debtor                                                                   (Printed Name of Foreign Representative)

      Telephone Number (if not represented by attorney)
      October 6, 2014                                                                             Date
      Date
                                  Signature of Attorney*                                                 Signature of Non-Attorney Bankruptcy Petition Preparer

 X    /s/DanielL.Wilder                                                                      I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as
      Signature of Attorney for Debtor(s)                                                    defined in 11 U.S.C. § 110; (2) I prepared this document for compensation and have
      Daniel L. Wilder                                                                       provided the debtor with a copy of this document and the notices and information
      Printed Name of Attorney for Debtor(s)                                                 required under 11 U.S.C. §§ 110(b), 110(h), and 342(b); and, (3) if rules or
      Emmett L. Goodman, Jr., LLC                                                            guidelines have been promulgated pursuant to 11 U.S.C. § 110(h) setting a maximum
      Firm Name                                                                              fee for services chargeable by bankruptcy petition preparers, I have given the debtor
                                                                                             notice of the maximum amount before preparing any document for filing for a debtor
      Attorney at Law, 544 Mulberry Street, Suite 800                                        or accepting any fee from the debtor, as required in that section. Official Form 19 is
      Macon, Georgia 31201-2776                                                              attached.
      Address
      (478) 745-5415
      Telephone Number                                                                            Printed Name and title, if any, of Bankruptcy Petition Preparer
      October 6, 2014
      Date
      Bar No.: 141448                                                                             Social-Security number (If the bankruptcy petition preparer is not an individual,
      Fax: (478) 746-8655                                                                         state the Social-Security number of the officer, principal, responsible person or
                                                                                                  partner of the bankruptcy petition preparer.) (Required by 11 U.S.C. § 110.)
      E-mail: bkydept@goodmanlaw.org
 *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a
 certification that the attorney has no knowledge after an inquiry that the information
 in the schedules is incorrect.
                                                                                                  Address
                   Signature of Debtor (Corporation/Partnership)

 I declare under penalty of perjury that the information provided in this petition is true   X
 and correct, and that I have been authorized to file this petition on behalf of the              Signature
 debtor.

 The debtor requests the relief in accordance with the chapter of title 11, United States         Date
 Code, specified in this petition.
                                                                                             Signature of bankruptcy petition preparer or officer, principal, responsible person, or
 X                                                                                           partner whose Social-Security number is provided above.
      Signature of Authorized Individual
                                                                                             Names and Social-Security numbers of all other individuals who prepared or assisted
      Printed Name of Authorized Individual                                                  in preparing this document unless the bankruptcy petition preparer is not an
                                                                                             individual.
      Title of Authorized Individual
                                                                                             If more than one person prepared this document, attach additional sheets conforming
      Date
                                                                                             to the appropriate official form for each person.

                                                                                             A bankruptcy petition preparer’s failure to comply with the provisions of title 11 and
                                                                                             the Federal Rules of Bankruptcy Procedure may result in fines or imprisonment or
                                                                                             both. 11 U.S.C. § 110; 18 U.S.C. § 156.
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                                      Attachment

Attachment 1
    Convenience Store, Retail Sales
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B6A (Official Form 6A) (12/07)

In re Luisa F. Campbell,                                                                              Case No.
                                             Debtor                                                                           (If known)


                                      SCHEDULE A - REAL PROPERTY




                                                                                      Husband, Wife, Joint,
                                                                                                                CURRENT VALUE




                                                                                         or Community
                                                                                                                  OF DEBTOR’S
                  DESCRIPTION AND                                                                                 INTEREST IN       AMOUNT OF
                                                        NATURE OF DEBTOR’S
                    LOCATION OF                                                                               PROPERTY, WITHOUT      SECURED
                                                       INTEREST IN PROPERTY
                     PROPERTY                                                                                   DEDUCTING ANY         CLAIM
                                                                                                                SECURED CLAIM
                                                                                                                 OR EXEMPTION




 Primary Residence - Single Family Home
                                                      Fee Simple Ownership                  W                         $30,000.00           $150,000.00
 3821 Blossfield Avenue, Macon, GA




 Notes: ***Property real note B06A RTE***

                                                                                    Total ►                            $30,000.00


                                                      (Report also on Summary of Schedules.)
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B 6B (Official Form 6B) (12/2007)

In re Luisa F. Campbell,                                                             Case No.
                                                   Debtor                                                         (If known)


                                      SCHEDULE B - PERSONAL PROPERTY




                                                                                       Joint, Or Community
                                                                                                               CURRENT VALUE OF




                                                                                          Husband, Wife,
                                               N                                                             DEBTOR’S INTEREST IN
                                               O          DESCRIPTION AND LOCATION                            PROPERTY, WITHOUT
          TYPE OF PROPERTY
                                               N                OF PROPERTY                                     DEDUCTING ANY
                                               E                                                                SECURED CLAIM
                                                                                                                 OR EXEMPTION


 1. Cash on hand.                              X

 2. Checking, savings or other financial           Wells Fargo checking                                                         $800.00
 accounts, certificates of deposit or shares
 in banks, savings and loan, thrift,
 building and loan, and homestead
 associations, or credit unions, brokerage
 houses, or cooperatives.


                                                   Certus checking                                                                $0.00



                                                   State Bank checking                                                            $0.00



 3. Security deposits with public utilities,
 telephone companies, landlords, and           X
 others.

 4. Household goods and furnishings,               Household furniture                                                         $2,000.00
 including audio, video, and computer
 equipment.


 5. Books; pictures and other art objects;
 antiques; stamp, coin, record, tape,
                                               X
 compact disc, and other collections or
 collectibles.

 6. Wearing apparel.                               Clothing                                                                    $1,000.00



 7. Furs and jewelry.                          X

 8. Firearms and sports, photographic,
                                               X
 and other hobby equipment.

 9. Interests in insurance policies. Name          Life Insurance - Pride America                                                 $0.00
 insurance company of each policy and
 itemize surrender or refund value of each.


 10. Annuities. Itemize and name each
                                               X
 issuer.
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B 6B (Official Form 6B) (12/2007)

In re Luisa F. Campbell,                                                                             Case No.
                                                    Debtor                                                                           (If known)


                                      SCHEDULE B - PERSONAL PROPERTY
                                                                 (Continuation Sheet)




                                                                                                          Joint, Or Community
                                                                                                                                  CURRENT VALUE OF




                                                                                                             Husband, Wife,
                                                N                                                                               DEBTOR’S INTEREST IN
                                                O          DESCRIPTION AND LOCATION                                              PROPERTY, WITHOUT
          TYPE OF PROPERTY
                                                N                OF PROPERTY                                                       DEDUCTING ANY
                                                E                                                                                  SECURED CLAIM
                                                                                                                                    OR EXEMPTION



 11. Interests in an education IRA as
 defined in 26 U.S.C. § 530(b)(1) or under
 a qualified State tuition plan as defined in
                                                X
 26 U.S.C. § 529(b)(1). Give particulars.
 (File separately the record(s) of any such
 interest(s). 11 U.S.C. § 521(c).)

 12. Interests in IRA, ERISA, Keogh, or
 other pension or profit sharing plans.         X
 Give particulars.

 13. Stock and interests in incorporated
                                                X
 and unincorporated businesses. Itemize.

 14. Interests in partnerships or joint
                                                X
 ventures. Itemize.

 15. Government and corporate bonds and
 other negotiable and nonnegotiable             X
 instruments.

 16. Accounts receivable.                           Mike Patel "written contract"                                                             $140,000.00



 17. Alimony, maintenance, support, and
 property settlements to which the debtor       X
 is or may be entitled. Give particulars.

 18. Other liquidated debts owed to debtor
                                                X
 including tax refunds. Give particulars.

 19. Equitable or future interests, life
 estates, and rights or powers exercisable
 for the benefit of the debtor other than       X
 those listed in Schedule A – Real
 Property.

 20. Contingent and noncontingent
 interests in estate of a decedent, death
                                                X
 benefit plan, life insurance policy, or
 trust.

 21. Other contingent and unliquidated              Counterclaim of Debtor against Cecil Perkins as set                                             $1.00
 claims of every nature, including tax              forth in District Court suit listed in Statement of
 refunds, counterclaims of the debtor, and          Financial Affairs
 rights to setoff claims. Give estimated
 value of each.


 22. Patents, copyrights, and other
                                                X
 intellectual property. Give particulars.
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                                                     Document     Page 8 of 67
B 6B (Official Form 6B) (12/2007)

In re Luisa F. Campbell,                                                              Case No.
                                                   Debtor                                                           (If known)


                                       SCHEDULE B - PERSONAL PROPERTY
                                                               (Continuation Sheet)




                                                                                         Joint, Or Community
                                                                                                                 CURRENT VALUE OF




                                                                                            Husband, Wife,
                                              N                                                                DEBTOR’S INTEREST IN
                                              O           DESCRIPTION AND LOCATION                              PROPERTY, WITHOUT
          TYPE OF PROPERTY
                                              N                 OF PROPERTY                                       DEDUCTING ANY
                                              E                                                                   SECURED CLAIM
                                                                                                                   OR EXEMPTION



 23. Licenses, franchises, and other
                                              X
 general intangibles. Give particulars.

 24. Customer lists or other compilations
 containing personally identifiable
 information (as defined in 11 U.S.C. §
 101(41A)) provided to the debtor by
                                              X
 individuals in connection with obtaining
 a product or service from the debtor
 primarily for personal, family, or
 household purposes.

 25. Automobiles, trucks, trailers, and            2012 Toyota Tundra                         W                                  $20,000.00
 other vehicles and accessories.                   50,000 miles




                                                   2006 Hummer                                                                   $15,000.00
                                                   100,000 miles




                                                   1994 Freightliner - broken down                                                 $500.00



 26. Boats, motors, and accessories.          X

 27. Aircraft and accessories.                X

 28. Office equipment, furnishings, and
                                              X
 supplies.

 29. Machinery, fixtures, equipment, and
                                              X
 supplies used in business.

 30. Inventory.                               X

 31. Animals.                                      Dog                                                                                $1.00



 32. Crops - growing or harvested. Give
                                              X
 particulars.

 33. Farming equipment and implements.        X

 34. Farm supplies, chemicals, and feed.      X

 35. Other personal property of any kind
                                              X
 not already listed. Itemize.
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B 6B (Official Form 6B) (12/2007)

In re Luisa F. Campbell,                                                                     Case No.
                                               Debtor                                                                      (If known)


                                    SCHEDULE B - PERSONAL PROPERTY
                                                            (Continuation Sheet)




                                                                                                Joint, Or Community
                                                                                                                        CURRENT VALUE OF




                                                                                                   Husband, Wife,
                                        N                                                                             DEBTOR’S INTEREST IN
                                        O             DESCRIPTION AND LOCATION                                         PROPERTY, WITHOUT
         TYPE OF PROPERTY
                                        N                   OF PROPERTY                                                  DEDUCTING ANY
                                        E                                                                                SECURED CLAIM
                                                                                                                          OR EXEMPTION



                                        3 continuation sheets attached         Total ►                                              $179,302.00
                                                   (Include amounts from any continuation
                                                     sheets attached. Report total also on
                                                           Summary of Schedules.)
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B6C (Official Form 6C) (04/13)

In re Luisa F. Campbell,                                                                      Case No.
                                       Debtor                                                                        (If known)


                      SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
Debtor claims the exemptions to which debtor is entitled under:            Check if debtor claims a homestead exemption that exceeds
(Check one box)                                                             $155,675.*
 11 U.S.C. § 522(b)(2)
 11 U.S.C. § 522(b)(3)

                                                                                                                        CURRENT
                                                                      SPECIFY LAW                VALUE OF
                                                                                                                   VALUE OF PROPERTY
                 DESCRIPTION OF PROPERTY                            PROVIDING EACH               CLAIMED
                                                                                                                   WITHOUT DEDUCTING
                                                                       EXEMPTION                EXEMPTION
                                                                                                                       EXEMPTION
 2012 Toyota Tundra                                               Ga. Code Ann. § 44-13-
                                                                                                      $5,000.00                $20,000.00
 50,000 miles                                                     100(a)(3)


 1994 Freightliner - broken down                                  Ga. Code Ann. § 44-13-
                                                                                                         $500.00                   $500.00
                                                                  100(a)(6)


 Wells Fargo checking                                             Ga. Code Ann. § 44-13-
                                                                                                         $800.00                   $800.00
                                                                  100(a)(6)


 Household furniture                                              Ga. Code Ann. § 44-13-
                                                                                                      $2,000.00                   $2,000.00
                                                                  100(a)(4)


 Clothing                                                         Ga. Code Ann. § 44-13-
                                                                                                      $1,000.00                   $1,000.00
                                                                  100(a)(4)


 Counterclaim of Debtor against Cecil Perkins as set forth in     Ga. Code Ann. § 44-13-
                                                                                                           $1.00                      $1.00
 District Court suit listed in Statement of Financial Affairs     100(a)(6)




* Amount subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of
adjustment.
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 B 6D (Official Form 6D) (12/07)                                                                                    Document     Page 11 of 67

 In re ____________________________________,
       Luisa F. Campbell                                                                                                                                                                                                                      Case No. __________________________________
                                                                                                   Debtor                                                                                                                                                            (If known)

                               SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
           □          Check this box if debtor has no creditors holding secured claims to report on this Schedule D.




                                                                                                  HUSBAND, WIFE,




                                                                                                                                                                                                                                      UNLIQUIDATED
   CREDITOR’S NAME AND                                                                                                                      DATE CLAIM WAS                                                                                                                                                        AMOUNT OF CLAIM                                          UNSECURED




                                                                                                                                                                                                CONTINGENT
                                                                                                   COMMUNITY
                                                              CODEBTOR
      MAILING ADDRESS                                                                                                                          INCURRED,                                                                                                                                                              WITHOUT                                              PORTION, IF

                                                                                                    JOINT, OR




                                                                                                                                                                                                                                                                              DISPUTED
  INCLUDING ZIP CODE AND                                                                                                                    NATURE OF LIEN ,                                                                                                                                                      DEDUCTING VALUE                                             ANY
    AN ACCOUNT NUMBER                                                                                                                             AND                                                                                                                                                              OF COLLATERAL
     (See Instructions Above.)                                                                                                                DESCRIPTION
                                                                                                                                             AND VALUE OF
                                                                                                                                               PROPERTY
                                                                                                                                            SUBJECT TO LIEN
 ACCOUNT NO.
Georgia Auto Pawn, Inc.                                                                                                             Nonpossessory,
4313 Pio Nono Avenue                                                                                                                Nonpurchase-Money
Macon, GA 31206                                                                                                                     Security Interest
                                                                                                                                                                                                                                                                                                                              $10,000.00
                                                                                                                                    2012 Toyota Tundra
                                                                                                                                    50,000 miles
                                                                                                                                            VALUE $       $20,000.00


ACCOUNT NO.
                                     ———————————————————



                                                                         ———————————————————




                                                                                                                   ———————————————————




                                                                                                                                                                       ———————————————————




                                                                                                                                                                                                             ———————————————————




                                                                                                                                                                                                                                                     ———————————————————




                                                                                                                                                                                                                                                                                         ———————————————————




                                                                                                                                                                                                                                                                                                                                               ———————————————————
—————————————————————————————————

Mini-Food Stores, Inc.                                                                                                              First Mortgage
508 HIll Crest Industrial
Blvd.                                                                                                                                                                                           X                                     X                                       X                                              $150,000.00                                       $120,000.00
Macon, GA 31204

                                                                                                                              ———————————————————————
                                                                                                                                 VALUE $
—————————————————————————————————————————————————————————————————————————————————————————————————————————————————————————————————————————
                                                                                                                                                          $30,000.00



ACCOUNT NO.
                                        ———————————————————



                                                                            ———————————————————




                                                                                                                      ———————————————————




                                                                                                                                                                          ———————————————————




                                                                                                                                                                                                                ———————————————————




                                                                                                                                                                                                                                                        ———————————————————




                                                                                                                                                                                                                                                                                            ———————————————————




                                                                                                                                                                                                                                                                                                                                                  ———————————————————
—————————————————————————————————

TitleMax                                                                                                                                 Nonpossessory,
1901 Watson Blvd.                                                                                                                        Nonpurchase-Money
Warner Robins, GA 31093                                                                                                                  Security Interest
                                                                                                                                                                                                                                                                                                                               $10,000.00
                                                                                                                                         2006 Hummer
                                                                                                                                         100,000 miles
                                                                                                                                  ———————————————————————
                                                                                                                                     VALUE $
—————————————————————————————————————————————————————————————————————————————————————————————————————————————————————————————————————————
                                                                                                                                                          $15,000.00




 ____
   0 continuation sheets                                                                                                                    Subtotal ►                                                                                                                                                            $            170,000.00 $                                      120,000.00
      attached                                                                                                                              (Total of this page)
                                                                                                                                            Total ►                                                                                                                                                               $           170,000.00 $                                       120,000.00
                                                                                                                                            (Use only on last page)
                                                                                                                                                                                                                                                                                                                  (Report also on Summary of                            (If applicable, report
                                                                                                                                                                                                                                                                                                                  Schedules.)                                           also on Statistical
                                                                                                                                                                                                                                                                                                                                                                        Summary of Certain
                                                                                                                                                                                                                                                                                                                                                                        Liabilities and Related
                                                                                                                                                                                                                                                                                                                                                                        Data.)
               Case 14-52385             Doc 1       Filed 10/06/14 Entered 10/06/14 17:09:46                              Desc Main
                                                      Document     Page 12 of 67
B 6E (Official Form 6E) (04/13)

       In re
                 Luisa F. Campbell                                                     ,              Case No.
                                                             Debtor                                                       (if known)


         SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS

     Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets.)

    Domestic Support Obligations

    Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or
responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in
11 U.S.C. § 507(a)(1).

    Extensions of credit in an involuntary case

  Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the
appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).

    Wages, salaries, and commissions

  Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying
independent sales representatives up to $12,475* per person earned within 180 days immediately preceding the filing of the original petition, or the
cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

    Contributions to employee benefit plans

  Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

    Certain farmers and fishermen

 Claims of certain farmers and fishermen, up to $6,150* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

    Deposits by individuals

  Claims of individuals up to $2,775* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use,
that were not delivered or provided. 11 U.S.C. § 507(a)(7).

X Taxes and Certain Other Debts Owed to Governmental Units

 Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

    Commitments to Maintain the Capital of an Insured Depository Institution

  Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of
Governors of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C.
§ 507 (a)(9).

    Claims for Death or Personal Injury While Debtor Was Intoxicated

  Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol, a
drug, or another substance. 11 U.S.C. § 507(a)(10).


* Amounts are subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of
adjustment.


                                                            1 continuation sheets attached
                                                           ____
               Case 14-52385                             Doc 1                              Filed 10/06/14 Entered 10/06/14 17:09:46                                                                                                      Desc Main
B 6E (Official Form 6E) (04/13) – Cont.
                                                                                             Document     Page 13 of 67

      Luisa F. Campbell
In re __________________________________________,                                                                                      Case No. _________________________________
                   Debtor                                                                                                                                (if known)


   SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                                               (Continuation Sheet)

                  Taxes and Certain Other Debts Owed to Governmental Units Type of Priority for Claims Listed on This Sheet

                                                                                                                                                                                                      -




                                                                                                                                                               UNLIQUIDATED
       CREDITOR’S NAME,                                                                             DATE CLAIM WAS                                                                                             AMOUNT                   AMOUNT                 AMOUNT




                                                                                                                                       CONTINGENT
                                                                        HUSBAND, WIFE,

                                                                         COMMUNITY
        MAILING ADDRESS                                                                              INCURRED AND                                                                                                OF                     ENTITLED                  NOT

                                                                          JOINT, OR




                                                                                                                                                                                         DISPUTED
      INCLUDING ZIP CODE,                                                                           CONSIDERATION                                                                                               CLAIM                      TO                  ENTITLED
                                                      CODEBTOR


     AND ACCOUNT NUMBER                                                                                FOR CLAIM                                                                                                                        PRIORITY                   TO
       (See instructions above.)                                                                                                                                                                                                                              PRIORITY, IF
                                                                                                                                                                                                                                                                  ANY
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 Account No.
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GA Department of Revenue
                                                                                             State taxes,
Bankruptcy Section
                                                                                             payroll taxes and                                                                                                 Unknown                  Unknown                  $0.00
1800 Century Blvd, NE Ste
                                                                                             sales tax for
17200
                                                                                             business
Atlanta, GA 30345
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 Account No.
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Georgia Lottery
Commission
                                                                                                                                                                                                               Unknown                  Unknown                  $0.00
250 Williams Street                                                                          Lottery Sales
Suite 3000
Atlanta , GA 30303
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 Account No.
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Internal Revenue Service
P. O. Box 7346                                                                               Federal Taxes                                                                                                     Unknown                  Unknown                  $0.00
Philadelphia, PA                                                                             from business
19101-7346

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            1 of ___
 Sheet no. ___     1 continuation sheets attached to Schedule                                                                       Subtotals'                                                             $        0.00 $                    0.00                   $0.00
 of Creditors Holding Priority Claims                                                                                      (Totals of this page)

                                                                                                                                        Total'                                                             $        0.00
                                                                                                    (Use only on last page of the completed
                                                                                                    Schedule E. Report also on the Summary
                                                                                                    of Schedules.)

                                                                                                                                        Totals'                                                                                     $         0.00 $                  0.00
                                                                                                    (Use only on last page of the completed
                                                                                                    Schedule E. If applicable, report also on
                                                                                                    the Statistical Summary of Certain
                                                                                                    Liabilities and Related Data.)
B 6F (Official FormCase     14-52385
                   6F) (12/07)             Doc 1                               Filed 10/06/14 Entered 10/06/14 17:09:46                                                                               Desc Main
                                                                                Document     Page 14 of 67
         Luisa F. Campbell
   In re _________________________________________________________,                                                         Case No. _________________________________
                                           Debtor                                                                                                   (if known)
       SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
         G Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.




                                                                               HUSBAND, WIFE,

                                                                                COMMUNITY
           CREDITOR’S NAME,                                                                                    DATE CLAIM WAS                                                                                                   AMOUNT OF




                                                                                                                                                                          UNLIQUIDATED
                                                                                 JOINT, OR




                                                                                                                                                 CONTINGENT
                                                        CODEBTOR
            MAILING ADDRESS                                                                                     INCURRED AND                                                                                                      CLAIM




                                                                                                                                                                                                     DISPUTED
          INCLUDING ZIP CODE,                                                                                CONSIDERATION FOR
         AND ACCOUNT NUMBER                                                                                         CLAIM.
               See instructions above.                                                                      IF CLAIM IS SUBJECT TO
                                                                                                               SETOFF, SO STATE.

      ACCOUNT NO.
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                  3924
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                                                                                                      Credit Card Charges
      Applied Bank                                                                                                                                                                                                                 $1,319.00
      4700 Exchange Court
      Boca Raton , FL 33431-0966

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      ACCOUNT NO.
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                                                                                                      FLSA/employment claim
      Cecil Perkins
      c/o Charles Bridges                               X                                                                                                                 X                          X                             $4,000.00
      101 Marietta Street, Ste. 3100
      Atlanta, GA 30303
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      ACCOUNT NO.
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                                                                                                      Overdrawn Checking
      Certus Bank                                                                                                                                                                                                                   $300.00
      501 Walnut Street
      Macon, GA 31202

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      ACCOUNT NO.
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                  6416
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                                                                                                      Medical Services
      Credit Bureau Associates                                                                                                                                                                                                      $709.00
      420 College Street
      Macon, GA 31201-6707

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                                                                                                                                                                              Subtotal'                                     $       6,328.00
         8
       _____continuation sheets attached                                                                                                              Total'                                                                $
                                                                                                        (Use only on last page of the completed Schedule F.)
                                                                                    (Report also on Summary of Schedules and, if applicable, on the Statistical
                                                                                                          Summary of Certain Liabilities and Related Data.)
B 6F (Official FormCase     14-52385
                   6F) (12/07) - Cont.       Doc 1                               Filed 10/06/14 Entered 10/06/14 17:09:46                                                                                 Desc Main
                                                                                  Document     Page 15 of 67
      Luisa F. Campbell
In re __________________________________________,                                                                             Case No. _________________________________
                      Debtor                                                                                                                    (if known)


       SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                      (Continuation Sheet)




                                                                                 HUSBAND, WIFE,




                                                                                                                                                                            UNLIQUIDATED
                                                                                  COMMUNITY
                                                                                                                 DATE CLAIM WAS




                                                                                                                                                   CONTINGENT
            CREDITOR’S NAME,



                                                          CODEBTOR


                                                                                   JOINT, OR




                                                                                                                                                                                                       DISPUTED
                                                                                                                  INCURRED AND
             MAILING ADDRESS
                                                                                                               CONSIDERATION FOR                                                                                                  AMOUNT OF
           INCLUDING ZIP CODE,
                                                                                                                      CLAIM.                                                                                                        CLAIM
          AND ACCOUNT NUMBER
               (See   instructions above.)                                                                    IF CLAIM IS SUBJECT TO
                                                                                                                 SETOFF, SO STATE.

      ACCOUNT NO.
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                  1835
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                                                                                                      General Services
      Diversified Consultants                                                                                                                                                                                                         $952.00
      P. O. Box 551268
      Jacksonville, FL 32255

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      Additional Contacts for Diversified Consultants (1835):




         Dish Network
         9601 S Meridian Blvd.
         Englewood, CO 80112



      ACCOUNT NO.
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                  8832
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                                                                                                      General Services
      Enhanced Recovery
      Company                                                                                                                                                                                                                          $80.00
      P. O. Box 57547
      Jacksonville, FL 32241
      ———————————————————————————————————————————————————

      Additional Contacts for Enhanced Recovery Company (8832):




         T-Mobile
         P. O. Box 37380
         Albuquerque, NM
         87176-7380



        Sheet no. 1 of 8 continuation sheets attached                                                                                                                             Subtotal'                                   $       1,032.00
        to Schedule of Creditors Holding Unsecured
        Nonpriority Claims

                                                                                                                                                       Total'                                                                 $
                                                                                                         (Use only on last page of the completed Schedule F.)
                                                                                      (Report also on Summary of Schedules and, if applicable on the Statistical
                                                                                                            Summary of Certain Liabilities and Related Data.)
B 6F (Official FormCase     14-52385
                   6F) (12/07) - Cont.       Doc 1                               Filed 10/06/14 Entered 10/06/14 17:09:46                                                                                 Desc Main
                                                                                  Document     Page 16 of 67
      Luisa F. Campbell
In re __________________________________________,                                                                             Case No. _________________________________
                      Debtor                                                                                                                    (if known)


       SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                      (Continuation Sheet)




                                                                                 HUSBAND, WIFE,




                                                                                                                                                                            UNLIQUIDATED
                                                                                  COMMUNITY
                                                                                                                 DATE CLAIM WAS




                                                                                                                                                   CONTINGENT
            CREDITOR’S NAME,



                                                          CODEBTOR


                                                                                   JOINT, OR




                                                                                                                                                                                                       DISPUTED
                                                                                                                  INCURRED AND
             MAILING ADDRESS
                                                                                                               CONSIDERATION FOR                                                                                                  AMOUNT OF
           INCLUDING ZIP CODE,
                                                                                                                      CLAIM.                                                                                                        CLAIM
          AND ACCOUNT NUMBER
               (See   instructions above.)                                                                    IF CLAIM IS SUBJECT TO
                                                                                                                 SETOFF, SO STATE.

      ACCOUNT NO.
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                  0050
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                                                                                                      General Services
      EOS CCA                                                                                                                                                                                                                        $1,405.00
      700 Longwater Drive
      Norwell, MA 02061

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      Additional Contacts for EOS CCA (0050):



         AT&T
         c/o Bankruptcy
         1801 Valley View Lane
         Farmers Branch , TX
         75234


      ACCOUNT NO.
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                  3066
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                                                                                                      Personal Loan
      Fidelity Creditor Services                                                                                                                                                                                                      $833.00
      216 S. Louise Street
      Glendale , CA 91205

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      Additional Contacts for Fidelity Creditor Services (3066):



         First American Payment
         Systems
         100 Throckmorton Street,
         Ste. 1800
         Fort Worth , TX 76102


        Sheet no. 2 of 8 continuation sheets attached                                                                                                                             Subtotal'                                   $       2,238.00
        to Schedule of Creditors Holding Unsecured
        Nonpriority Claims

                                                                                                                                                       Total'                                                                 $
                                                                                                         (Use only on last page of the completed Schedule F.)
                                                                                      (Report also on Summary of Schedules and, if applicable on the Statistical
                                                                                                            Summary of Certain Liabilities and Related Data.)
B 6F (Official FormCase     14-52385
                   6F) (12/07) - Cont.       Doc 1                               Filed 10/06/14 Entered 10/06/14 17:09:46                                                                                 Desc Main
                                                                                  Document     Page 17 of 67
      Luisa F. Campbell
In re __________________________________________,                                                                             Case No. _________________________________
                      Debtor                                                                                                                    (if known)


       SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                      (Continuation Sheet)




                                                                                 HUSBAND, WIFE,




                                                                                                                                                                            UNLIQUIDATED
                                                                                  COMMUNITY
                                                                                                                 DATE CLAIM WAS




                                                                                                                                                   CONTINGENT
            CREDITOR’S NAME,



                                                          CODEBTOR


                                                                                   JOINT, OR




                                                                                                                                                                                                       DISPUTED
                                                                                                                  INCURRED AND
             MAILING ADDRESS
                                                                                                               CONSIDERATION FOR                                                                                                  AMOUNT OF
           INCLUDING ZIP CODE,
                                                                                                                      CLAIM.                                                                                                        CLAIM
          AND ACCOUNT NUMBER
               (See   instructions above.)                                                                    IF CLAIM IS SUBJECT TO
                                                                                                                 SETOFF, SO STATE.

      ACCOUNT NO.
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                  1714
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                                                                                                      Medical Services
      Franklin Collection Service                                                                                                                                                                                                     $506.00
      2978 W Jackson Street
      Tupelo, MS 38803

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      Additional Contacts for Franklin Collection Service (1714):



         Emergency Physicians
         Group
         2000 Green Road, Ste.
         300
         Ann Arbor, MI 48105-1571


      ACCOUNT NO.
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                  1836
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                                                                                                      Medical Services
      IC Systems Collections                                                                                                                                                                                                          $225.00
      P. O. Box 64378
      Saint Paul, MN 55164-0378

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      Additional Contacts for IC Systems Collections (1836):




         Banfield Pet Hospital
         4551 Billy Williamson
         Drive
         Macon, GA 31206



        Sheet no. 3 of 8 continuation sheets attached                                                                                                                             Subtotal'                                   $        731.00
        to Schedule of Creditors Holding Unsecured
        Nonpriority Claims

                                                                                                                                                       Total'                                                                 $
                                                                                                         (Use only on last page of the completed Schedule F.)
                                                                                      (Report also on Summary of Schedules and, if applicable on the Statistical
                                                                                                            Summary of Certain Liabilities and Related Data.)
B 6F (Official FormCase     14-52385
                   6F) (12/07) - Cont.       Doc 1                               Filed 10/06/14 Entered 10/06/14 17:09:46                                                                                 Desc Main
                                                                                  Document     Page 18 of 67
      Luisa F. Campbell
In re __________________________________________,                                                                             Case No. _________________________________
                      Debtor                                                                                                                    (if known)


       SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                      (Continuation Sheet)




                                                                                 HUSBAND, WIFE,




                                                                                                                                                                            UNLIQUIDATED
                                                                                  COMMUNITY
                                                                                                                 DATE CLAIM WAS




                                                                                                                                                   CONTINGENT
            CREDITOR’S NAME,



                                                          CODEBTOR


                                                                                   JOINT, OR




                                                                                                                                                                                                       DISPUTED
                                                                                                                  INCURRED AND
             MAILING ADDRESS
                                                                                                               CONSIDERATION FOR                                                                                                  AMOUNT OF
           INCLUDING ZIP CODE,
                                                                                                                      CLAIM.                                                                                                        CLAIM
          AND ACCOUNT NUMBER
               (See   instructions above.)                                                                    IF CLAIM IS SUBJECT TO
                                                                                                                 SETOFF, SO STATE.

      ACCOUNT NO.
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                  0178
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                                                                                                      Credit Card Charges
      Jefferson Capital System                                                                                                                                                                                                        $226.00
      16 McLeland Road
      Saint Cloud, MN 56303

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      Additional Contacts for Jefferson Capital System (0178):




         Fingerhut Direct
         Marketing
         6509 Flying Cloud Drive
         Eden Prairie, MN 55344


      ACCOUNT NO.
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                  2070
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                                                                                                      Credit Card Charges
      Jefferson Capital System                                                                                                                                                                                                        $293.00
      16 McLeland Road
      Saint Cloud, MN 56303

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      Additional Contacts for Jefferson Capital System (2070):




         Salute Visa Gold
         P. O. Box 790183
         St. Louis, MT 63179-0183



        Sheet no. 4 of 8 continuation sheets attached                                                                                                                             Subtotal'                                   $        519.00
        to Schedule of Creditors Holding Unsecured
        Nonpriority Claims

                                                                                                                                                       Total'                                                                 $
                                                                                                         (Use only on last page of the completed Schedule F.)
                                                                                      (Report also on Summary of Schedules and, if applicable on the Statistical
                                                                                                            Summary of Certain Liabilities and Related Data.)
B 6F (Official FormCase     14-52385
                   6F) (12/07) - Cont.       Doc 1                               Filed 10/06/14 Entered 10/06/14 17:09:46                                                                                 Desc Main
                                                                                  Document     Page 19 of 67
      Luisa F. Campbell
In re __________________________________________,                                                                             Case No. _________________________________
                      Debtor                                                                                                                    (if known)


       SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                      (Continuation Sheet)




                                                                                 HUSBAND, WIFE,




                                                                                                                                                                            UNLIQUIDATED
                                                                                  COMMUNITY
                                                                                                                 DATE CLAIM WAS




                                                                                                                                                   CONTINGENT
            CREDITOR’S NAME,



                                                          CODEBTOR


                                                                                   JOINT, OR




                                                                                                                                                                                                       DISPUTED
                                                                                                                  INCURRED AND
             MAILING ADDRESS
                                                                                                               CONSIDERATION FOR                                                                                                  AMOUNT OF
           INCLUDING ZIP CODE,
                                                                                                                      CLAIM.                                                                                                        CLAIM
          AND ACCOUNT NUMBER
               (See   instructions above.)                                                                    IF CLAIM IS SUBJECT TO
                                                                                                                 SETOFF, SO STATE.

      ACCOUNT NO.
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      Kqazi Enterprises, Inc.
      c/o Fred Godwin                                                                                                                                                                                                                $7,600.00
      1512 Watson Blvd.
      Warner Robins , GA 31093
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      Additional Contacts for Kqazi Enterprises, Inc. :



         Kqazi Enterprise
         Rahil Kazi, Registered
         Agent
         1707 Watson Blvd.
         Warner Robins, GA 31093


      ACCOUNT NO.
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                  4579
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                                                                                                      Credit Card Charges
      Midland Funding, LLC                                                                                                                                                                                                           $1,572.00
      8875 Aero Drive, Ste. 200
      San Diego, CA 92123

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      Additional Contacts for Midland Funding, LLC (4579):




         GE Money Bank
         Bankruptcy Department
         P. O. Box 103104
         Atlanta, GA 30328



        Sheet no. 5 of 8 continuation sheets attached                                                                                                                             Subtotal'                                   $       9,172.00
        to Schedule of Creditors Holding Unsecured
        Nonpriority Claims

                                                                                                                                                       Total'                                                                 $
                                                                                                         (Use only on last page of the completed Schedule F.)
                                                                                      (Report also on Summary of Schedules and, if applicable on the Statistical
                                                                                                            Summary of Certain Liabilities and Related Data.)
B 6F (Official FormCase     14-52385
                   6F) (12/07) - Cont.       Doc 1                               Filed 10/06/14 Entered 10/06/14 17:09:46                                                                                 Desc Main
                                                                                  Document     Page 20 of 67
      Luisa F. Campbell
In re __________________________________________,                                                                             Case No. _________________________________
                      Debtor                                                                                                                    (if known)


       SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                      (Continuation Sheet)




                                                                                 HUSBAND, WIFE,




                                                                                                                                                                            UNLIQUIDATED
                                                                                  COMMUNITY
                                                                                                                 DATE CLAIM WAS




                                                                                                                                                   CONTINGENT
            CREDITOR’S NAME,



                                                          CODEBTOR


                                                                                   JOINT, OR




                                                                                                                                                                                                       DISPUTED
                                                                                                                  INCURRED AND
             MAILING ADDRESS
                                                                                                               CONSIDERATION FOR                                                                                                  AMOUNT OF
           INCLUDING ZIP CODE,
                                                                                                                      CLAIM.                                                                                                        CLAIM
          AND ACCOUNT NUMBER
               (See   instructions above.)                                                                    IF CLAIM IS SUBJECT TO
                                                                                                                 SETOFF, SO STATE.

      ACCOUNT NO.
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                  3070
      ————————————————
                                                                                                      Credit Card Charges
      Midland Funding, LLC                                                                                                                                                                                                           $2,105.00
      8875 Aero Dr., Suite 200
      San Diego , CA 92123

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      Additional Contacts for Midland Funding, LLC (3070):




         HSBC Bank
         111 N. Town Center Drive
         Las Vegas , NV 89144



      ACCOUNT NO.
                                              —————————

                                                                     —————————




                                                                                                  —————————




                                                                                                                                       —————————


                                                                                                                                                                —————————


                                                                                                                                                                                           —————————


                                                                                                                                                                                                                  —————————
                  3314
      ————————————————
                                                                                                      Credit Card Charges
      Midland Funding, LLC                                                                                                                                                                                                           $1,113.00
      8875 Aero Drive, Ste. 200
      San Diego, CA 92123

      ———————————————————————————————————————————————————

      Additional Contacts for Midland Funding, LLC (3314):




         HSBC Bank
         1111 N. Town Center
         Drive
         Las Vegas, NV 89144



        Sheet no. 6 of 8 continuation sheets attached                                                                                                                             Subtotal'                                   $       3,218.00
        to Schedule of Creditors Holding Unsecured
        Nonpriority Claims

                                                                                                                                                       Total'                                                                 $
                                                                                                         (Use only on last page of the completed Schedule F.)
                                                                                      (Report also on Summary of Schedules and, if applicable on the Statistical
                                                                                                            Summary of Certain Liabilities and Related Data.)
B 6F (Official FormCase     14-52385
                   6F) (12/07) - Cont.       Doc 1                               Filed 10/06/14 Entered 10/06/14 17:09:46                                                                                 Desc Main
                                                                                  Document     Page 21 of 67
      Luisa F. Campbell
In re __________________________________________,                                                                             Case No. _________________________________
                      Debtor                                                                                                                    (if known)


       SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                      (Continuation Sheet)




                                                                                 HUSBAND, WIFE,




                                                                                                                                                                            UNLIQUIDATED
                                                                                  COMMUNITY
                                                                                                                 DATE CLAIM WAS




                                                                                                                                                   CONTINGENT
            CREDITOR’S NAME,



                                                          CODEBTOR


                                                                                   JOINT, OR




                                                                                                                                                                                                       DISPUTED
                                                                                                                  INCURRED AND
             MAILING ADDRESS
                                                                                                               CONSIDERATION FOR                                                                                                  AMOUNT OF
           INCLUDING ZIP CODE,
                                                                                                                      CLAIM.                                                                                                        CLAIM
          AND ACCOUNT NUMBER
               (See   instructions above.)                                                                    IF CLAIM IS SUBJECT TO
                                                                                                                 SETOFF, SO STATE.

      ACCOUNT NO.
                                              —————————

                                                                     —————————




                                                                                                  —————————




                                                                                                                                       —————————


                                                                                                                                                                —————————


                                                                                                                                                                                           —————————


                                                                                                                                                                                                                  —————————
                  2217
      ————————————————
                                                                                                      General Services
      NCO Financial Systems                                                                                                                                                                                                           $172.00
      P. O. Box 4935
      Trenton, NJ 08650

      ———————————————————————————————————————————————————

      Additional Contacts for NCO Financial Systems (2217):



         Direct TV Customer
         Service
         P. O. Box 6550
         Greenwood Village , CO
         80155-6550


      ACCOUNT NO.
                                              —————————

                                                                     —————————




                                                                                                  —————————




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                                                                                                                                                                —————————


                                                                                                                                                                                           —————————


                                                                                                                                                                                                                  —————————
      ————————————————
                                                                                                      Food
      Road Runner Seafood                                                                                                                                                                                                            $1,900.00
      548 E. Crawford Street
      Colquitt, GA 39837

      ———————————————————————————————————————————————————

      ACCOUNT NO.
                                              —————————

                                                                     —————————




                                                                                                  —————————




                                                                                                                                       —————————


                                                                                                                                                                —————————


                                                                                                                                                                                           —————————


                                                                                                                                                                                                                  —————————




      ————————————————
      Star Coin, Inc.
      c/o Paul Oliver & Kathleen
      Jennings                                       $90,000.00
      Suite 400, Lenox Towers
      3400 Peachtree Road, NE
      Atlanta, GA 30376
      ———————————————————————————————————————————————————


        Sheet no. 7 of 8 continuation sheets attached                                                                                                                             Subtotal'                                   $      92,072.00
        to Schedule of Creditors Holding Unsecured
        Nonpriority Claims

                                                                                                                                                       Total'                                                                 $
                                                                                                         (Use only on last page of the completed Schedule F.)
                                                                                      (Report also on Summary of Schedules and, if applicable on the Statistical
                                                                                                            Summary of Certain Liabilities and Related Data.)
B 6F (Official FormCase     14-52385
                   6F) (12/07) - Cont.       Doc 1                               Filed 10/06/14 Entered 10/06/14 17:09:46                                                                                 Desc Main
                                                                                  Document     Page 22 of 67
      Luisa F. Campbell
In re __________________________________________,                                                                             Case No. _________________________________
                      Debtor                                                                                                                    (if known)


       SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                      (Continuation Sheet)




                                                                                 HUSBAND, WIFE,




                                                                                                                                                                            UNLIQUIDATED
                                                                                  COMMUNITY
                                                                                                                 DATE CLAIM WAS




                                                                                                                                                   CONTINGENT
            CREDITOR’S NAME,



                                                          CODEBTOR


                                                                                   JOINT, OR




                                                                                                                                                                                                       DISPUTED
                                                                                                                  INCURRED AND
             MAILING ADDRESS
                                                                                                               CONSIDERATION FOR                                                                                                  AMOUNT OF
           INCLUDING ZIP CODE,
                                                                                                                      CLAIM.                                                                                                        CLAIM
          AND ACCOUNT NUMBER
               (See   instructions above.)                                                                    IF CLAIM IS SUBJECT TO
                                                                                                                 SETOFF, SO STATE.

      ACCOUNT NO.
                                              —————————

                                                                     —————————




                                                                                                  —————————




                                                                                                                                       —————————


                                                                                                                                                                —————————


                                                                                                                                                                                           —————————


                                                                                                                                                                                                                  —————————
      ————————————————
                                                                                                      Overdrawn Checking
      State Bank                                                                                                                                                                                                                      $300.00
      2918 Riverside Drive
      Macon, GA 31210

      ———————————————————————————————————————————————————

      ACCOUNT NO.
                                              —————————

                                                                     —————————




                                                                                                  —————————




                                                                                                                                       —————————


                                                                                                                                                                —————————


                                                                                                                                                                                           —————————


                                                                                                                                                                                                                  —————————
                  2188
      ————————————————
                                                                                                      Credit Card Charges
      Transworld Systems, Inc.
      400 Lakeside Drive, Suite 200                                                                                                                                                                                                   $200.00
      Horsham, PA 19044
      ———————————————————————————————————————————————————

      ACCOUNT NO.
                                              —————————

                                                                     —————————




                                                                                                  —————————




                                                                                                                                       —————————


                                                                                                                                                                —————————


                                                                                                                                                                                           —————————


                                                                                                                                                                                                                  —————————
                  3650
      ————————————————
                                                                                                      General Services
      Verizon Wireless                                                                                                                                                                                                               $2,767.00
      P. O. Box 26055
      Minneapolis, MN 55426

      ———————————————————————————————————————————————————




        Sheet no. 8 of 8 continuation sheets attached                                                                                                                             Subtotal'                                   $       3,267.00
        to Schedule of Creditors Holding Unsecured
        Nonpriority Claims

                                                                                                                                                       Total'                                                                 $     118,577.00
                                                                                                         (Use only on last page of the completed Schedule F.)
                                                                                      (Report also on Summary of Schedules and, if applicable on the Statistical
                                                                                                            Summary of Certain Liabilities and Related Data.)
Case 14-52385             Doc 1      Filed 10/06/14 Entered 10/06/14 17:09:46                        Desc Main
                                      Document     Page 23 of 67
B 6G (Official Form 6G) (12/07)

In re Luisa F. Campbell,                                                     Case No.
                                             Debtor                                     (if known)

SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
 Check this box if debtor has no executory contracts or unexpired leases.


                                                              DESCRIPTION OF CONTRACT OR LEASE AND
      NAME AND MAILING ADDRESS,                                NATURE OF DEBTOR’S INTEREST. STATE
          INCLUDING ZIP CODE,                                 WHETHER LEASE IS FOR NONRESIDENTIAL
OF OTHER PARTIES TO LEASE OR CONTRACT.                           REAL PROPERTY. STATE CONTRACT
                                                              NUMBER OF ANY GOVERNMENT CONTRACT.
          Case 14-52385            Doc 1       Filed 10/06/14 Entered 10/06/14 17:09:46           Desc Main
                                                Document     Page 24 of 67
B 6H (Official Form 6H) (12/07)

In re Luisa F. Campbell,                                                 Case No.
                                                   Debtor                                     (if known)


                                               SCHEDULE H - CODEBTORS
 Check this box if debtor has no codebtors.


            NAME AND ADDRESS OF CODEBTOR                                 NAME AND ADDRESS OF CREDITOR

                                                             Cecil Perkins
1                                                            c/o Charles Bridges
GA                                                           101 Marietta Street, Ste. 3100
                                                             Atlanta, GA 30303
                  Case 14-52385            Doc 1          Filed 10/06/14 Entered 10/06/14 17:09:46                          Desc Main
                                                           Document     Page 25 of 67
 Fill in this information to identify your case:


 Debtor 1            Luisa F. Campbell
                    ___________________________________________________________________
                     First Name             Middle Name            Last Name

 Debtor 2            __________________________________________________________________
 (Spouse, if filing) First Name             Middle Name            Last Name


                                      Middle District of Georgia
 United States Bankruptcy Court for : ______________________     _

 Case number         ___________________________________________                                   Check if this is:
  (If known)
                                                                                                    An amended filing
                                                                                                    A supplement showing post-petition
                                                                                                       chapter 13 income as of the following date:
Official Form B 6I
                                                                                                       ________________
                                                                                                       MM / DD / YYYY


Schedule I: Your Income                                                                                                                           12/13

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Part 1:           Describe Employment


1. Fill in your employment
    information.                                                         Debtor 1                                    Debtor 2 or non-filing spouse

    If you have more than one job,
    attach a separate page with
    information about additional         Employment status            
                                                                      X
                                                                        Employed                                        Employed
    employers.                                                         Not employed                                 
                                                                                                                     X
                                                                                                                         Not employed
    Include part-time, seasonal, or
    self-employed work.
                                         Occupation                 Self Employed
                                                                    __________________________________           __________________________________
    Occupation may Include student
    or homemaker, if it applies.
                                         Employer’s name            Booth at Smiley's Flea Market
                                                                    __________________________________           __________________________________


                                         Employer’s address        _______________________________________     ________________________________________
                                                                    Number Street                               Number    Street

                                                                   _______________________________________     ________________________________________

                                                                   _______________________________________     ________________________________________

                                                                    ***Debtor employer state RMC***
                                                                   _______________________________________     ________________________________________
                                                                     City           State  ZIP Code              City                State ZIP Code

                                         How long employed there?         _______                                 _______

 Part 2:           Give Details About Monthly Income

    Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
    spouse unless you are separated.
    If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
    below. If you need more space, attach a separate sheet to this form.

                                                                                              For Debtor 1        For Debtor 2 or
                                                                                                                  non-filing spouse
 2. List monthly gross wages, salary, and commissions (before all payroll
     deductions). If not paid monthly, calculate what the monthly wage would be.       2.     950.00
                                                                                             $___________            $____________

 3. Estimate and list monthly overtime pay.                                            3.      0.00
                                                                                            + $___________       +   $____________


 4. Calculate gross income. Add line 2 + line 3.                                       4.     950.00
                                                                                             $__________              0.00
                                                                                                                     $____________



Official Form B 6I                                             Schedule I: Your Income                                                        page 1
                 Case 14-52385                        Doc 1            Filed 10/06/14 Entered 10/06/14 17:09:46                                        Desc Main
                                                                        Document     Page 26 of 67
Debtor 1         Luisa F. Campbell
                 _______________________________________________________                                                  Case number (if known)_____________________________________
                 First Name         Middle Name               Last Name



                                                                                                                         For Debtor 1         For Debtor 2 or
                                                                                                                                              non-filing spouse

   Copy line 4 here ............................................................................................  4.      950.00
                                                                                                                          $___________             0.00
                                                                                                                                                  $_____________

5. List all payroll deductions:

     5a. Tax, Medicare, and Social Security deductions                                                           5a.      0.00
                                                                                                                         $____________            $_____________
     5b. Mandatory contributions for retirement plans                                                            5b.      0.00
                                                                                                                         $____________            $_____________
     5c. Voluntary contributions for retirement plans                                                            5c.      0.00
                                                                                                                         $____________            $_____________
     5d. Required repayments of retirement fund loans                                                            5d.      0.00
                                                                                                                         $____________            $_____________
     5e. Insurance                                                                                               5e.      0.00
                                                                                                                         $____________            $_____________
     5f. Domestic support obligations                                                                            5f.      0.00
                                                                                                                         $____________            $_____________

     5g. Union dues                                                                                              5g.
                                                                                                                          0.00
                                                                                                                         $____________            $_____________

     5h. Other deductions. Specify: __________________________________                                           5h.       0.00
                                                                                                                        + $____________       +   $_____________

 6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g +5h.                                    6.      0.00
                                                                                                                         $____________             0.00
                                                                                                                                                  $_____________

 7. Calculate total monthly take-home pay. Subtract line 6 from line 4.                                           7.      950.00
                                                                                                                         $____________             0.00
                                                                                                                                                  $_____________


 8. List all other income regularly received:

     8a. Net income from rental property and from operating a business,
         profession, or farm
           Attach a statement for each property and business showing gross
           receipts, ordinary and necessary business expenses, and the total                                              0.00                     0.00
                                                                                                                         $____________            $_____________
           monthly net income.                                                                                   8a.
     8b. Interest and dividends                                                                                  8b.      0.00
                                                                                                                         $____________             0.00
                                                                                                                                                  $_____________
     8c. Family support payments that you, a non-filing spouse, or a dependent
         regularly receive
           Include alimony, spousal support, child support, maintenance, divorce                                          0.00                     0.00
                                                                                                                         $____________            $_____________
           settlement, and property settlement.                                                                  8c.
     8d. Unemployment compensation                                                                               8d.      0.00
                                                                                                                         $____________             0.00
                                                                                                                                                  $_____________
     8e. Social Security                                                                                         8e.      0.00
                                                                                                                         $____________             0.00
                                                                                                                                                  $_____________
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) of any non-cash assistance
         that you receive, such as food stamps (benefits under the Supplemental                                          $____________            $_____________
         Nutrition Assistance Program) or housing subsidies.
         Specify: ___________________________________________________ 8f.

     8g. Pension or retirement income                                                                            8g.      0.00
                                                                                                                         $____________             0.00
                                                                                                                                                  $_____________

     8h. Other monthly income. Specify: _______________________________                                          8h.    + $____________       + $_____________
 9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                         9.      0.00
                                                                                                                         $____________             0.00
                                                                                                                                                  $_____________

10. Calculate monthly income. Add line 7 + line 9.
                                                                                                                          950.00
                                                                                                                         $___________     +        0.00
                                                                                                                                                  $_____________    950.00
                                                                                                                                                                 = $_____________
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.                                    10.

11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify: _______________________________________________________________________________                                                                           0.00
                                                                                                                                                                11. + $_____________

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it applies                                12.
                                                                                                                                                                       950.00
                                                                                                                                                                      $_____________
                                                                                                                                                                      Combined
                                                                                                                                                                      monthly income
 13. Do you expect an increase or decrease within the year after you file this form?
          No.
     
     X
           Yes. Explain:
                               Debtor will find additional work

Official Form B 6I                                                                 Schedule I: Your Income                                                                page 2
                   Case 14-52385              Doc 1         Filed 10/06/14 Entered 10/06/14 17:09:46                             Desc Main
                                                             Document     Page 27 of 67
  Fill in this information to identify your case:

  Debtor 1          Luisa F. Campbell
                    __________________________________________________________________
                      First Name              Middle Name             Last Name                       Check if this is:
  Debtor 2            ________________________________________________________________
  (Spouse, if filing) First Name              Middle Name             Last Name
                                                                                                       An amended filing
                                       Middle District of Georgia
                                                                                                       A supplement showing post-petition chapter 13
  United States Bankruptcy Court for : ______________________     _                                       expenses as of the following date:
                                                                                                          ________________
  Case number         ___________________________________________                                         MM / DD / YYYY
  (If known)
                                                                                                       A separate filing for Debtor 2 because Debtor 2
                                                                                                          maintains a separate household
Official Form B 6J
Schedule J: Your Expenses                                                                                                                            12/13

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

 Part 1:            Describe Your Household

1. Is this a joint case?

   
   X
        No. Go to line 2.
       Yes. Does Debtor 2 live in a separate household?

               
               X
                     No
                    Yes. Debtor 2 must file a separate Schedule J.

2. Do you have dependents?                     No                                 Dependent’s relationship to              Dependent’s   Does dependent live
   Do not list Debtor 1 and                 
                                            X
                                                Yes. Fill out this information for Debtor 1 or Debtor 2                     age           with you?
   Debtor 2.                                    each dependent..........................
   Do not state the dependents’
                                                                                                                                              No
                                                                                   _________________________                ________
   names.                                                                                                                                     Yes

                                                                                   _________________________                ________          No
                                                                                                                                              Yes

                                                                                   _________________________                ________          No
                                                                                                                                              Yes

                                                                                   _________________________                ________          No
                                                                                                                                              Yes

                                                                                   _________________________                ________          No
                                                                                                                                              Yes

3. Do your expenses include
   expenses of people other than
                                               No
   yourself and your dependents?               Yes

Part 2:         Estimate Your Ongoing Monthly Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.
Include expenses paid for with non-cash government assistance if you know the value
of such assistance and have included it on Schedule I: Your Income (Official Form B 6I.)                                       Your expenses

 4. The rental or home ownership expenses for your residence. Include first mortgage payments and
                                                                                                                               0.00
                                                                                                                              $_____________________
     any rent for the ground or lot.                                                                                  4.

     If not included in line 4:
     4a.    Real estate taxes                                                                                         4a.      0.00
                                                                                                                              $_____________________
     4b.    Property, homeowner’s, or renter’s insurance                                                              4b.      0.00
                                                                                                                              $_____________________
     4c.    Home maintenance, repair, and upkeep expenses                                                             4c.      0.00
                                                                                                                              $_____________________
     4d.    Homeowner’s association or condominium dues                                                               4d.      0.00
                                                                                                                              $_____________________

Official Form B 6J                                            Schedule J: Your Expenses                                                          page 1
                 Case 14-52385                Doc 1        Filed 10/06/14 Entered 10/06/14 17:09:46                     Desc Main
                                                            Document     Page 28 of 67
 Debtor 1        Luisa F. Campbell
                 _______________________________________________________                   Case number (if known)_____________________________________
                 First Name     Middle Name        Last Name




                                                                                                                      Your expenses

                                                                                                                      0.00
                                                                                                                     $_____________________
 5. Additional mortgage payments for your residence, such as home equity loans                                5.


 6. Utilities:

      6a.   Electricity, heat, natural gas                                                                    6a.     0.00
                                                                                                                     $_____________________
      6b.   Water, sewer, garbage collection                                                                  6b.     0.00
                                                                                                                     $_____________________
      6c.   Telephone, cell phone, Internet, satellite, and cable services                                    6c.     0.00
                                                                                                                     $_____________________
      6d.   Other. Specify: _______________________________________________                                   6d.     0.00
                                                                                                                     $_____________________

 7. Food and housekeeping supplies                                                                            7.      200.00
                                                                                                                     $_____________________

 8. Childcare and children’s education costs                                                                  8.      0.00
                                                                                                                     $_____________________
 9. Clothing, laundry, and dry cleaning                                                                       9.      0.00
                                                                                                                     $_____________________
10.   Personal care products and services                                                                     10.     0.00
                                                                                                                     $_____________________
11.   Medical and dental expenses                                                                             11.     0.00
                                                                                                                     $_____________________

12. Transportation. Include gas, maintenance, bus or train fare.
                                                                                                                      200.00
                                                                                                                     $_____________________
      Do not include car payments.                                                                            12.

13.   Entertainment, clubs, recreation, newspapers, magazines, and books                                      13.     0.00
                                                                                                                     $_____________________
14.   Charitable contributions and religious donations                                                        14.     0.00
                                                                                                                     $_____________________
                                                                                                                                                    1
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.

      15a. Life insurance                                                                                     15a.    0.00
                                                                                                                     $_____________________
      15b. Health insurance                                                                                   15b.    0.00
                                                                                                                     $_____________________
      15c. Vehicle insurance                                                                                  15c.    100.00
                                                                                                                     $_____________________
      15d. Other insurance. Specify:_______________________________________                                   15d.    0.00
                                                                                                                     $_____________________

16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
                                                                                                                      0.00
                                                                                                                     $_____________________
      Specify: ________________________________________________________                                       16.

17.   Installment or lease payments:

      17a. Car payments for Vehicle 1                                                                         17a.    0.00
                                                                                                                     $_____________________

      17b. Car payments for Vehicle 2                                                                         17b.    0.00
                                                                                                                     $_____________________

      17c. Other. Specify:_______________________________________________                                     17c.   $_____________________

      17d. Other. Specify:_______________________________________________                                     17d.   $_____________________

18.    Your payments of alimony, maintenance, and support that you did not report as deducted                         0.00
      from your pay on line 5, Schedule I, Your Income (Official Form B 6I).                                   18.   $_____________________


19.   Other payments you make to support others who do not live with you.
      Specify:_______________________________________________________                                          19.    0.00
                                                                                                                     $_____________________

20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

      20a. Mortgages on other property                                                                        20a.    0.00
                                                                                                                     $_____________________

      20b. Real estate taxes                                                                                  20b.    0.00
                                                                                                                     $_____________________

      20c. Property, homeowner’s, or renter’s insurance                                                       20c.    0.00
                                                                                                                     $_____________________

      20d. Maintenance, repair, and upkeep expenses                                                           20d.    0.00
                                                                                                                     $_____________________

      20e. Homeowner’s association or condominium dues                                                        20e.    0.00
                                                                                                                     $_____________________



 Official Form B 6J                                            Schedule J: Your Expenses                                                   page 2
                 Case 14-52385                Doc 1       Filed 10/06/14 Entered 10/06/14 17:09:46                         Desc Main
                                                           Document     Page 29 of 67
 Debtor 1        Luisa F. Campbell
                 _______________________________________________________                      Case number (if known)_____________________________________
                 First Name    Middle Name        Last Name




21.    Other. Specify: _________________________________________________                                         21.     0.00
                                                                                                                       +$_____________________

22.    Your monthly expenses. Add lines 4 through 21.
                                                                                                                         500.00
                                                                                                                        $_____________________
       The result is your monthly expenses.                                                                      22.




23. Calculate your monthly net income.
                                                                                                                          950.00
                                                                                                                         $_____________________
      23a.   Copy line 12 (your combined monthly income) from Schedule I.                                       23a.

      23b.   Copy your monthly expenses from line 22 above.                                                     23b.      500.00
                                                                                                                       – $_____________________
      23c.   Subtract your monthly expenses from your monthly income.
                                                                                                                          450.00
                                                                                                                         $_____________________
             The result is your monthly net income.                                                             23c.




24. Do you expect an increase or decrease in your expenses within the year after you file this form?

      For example, do you expect to finish paying for your car loan within the year or do you expect your
      mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

         No.
      
      X
          Yes.     Explain here:
                 Debtor will search for additional work and will have to pay housing expenses shortly.




 Official Form B 6J                                           Schedule J: Your Expenses                                                       page 3
                 Case 14-52385             Doc 1       Filed 10/06/14 Entered 10/06/14 17:09:46                          Desc Main
                                                        Document     Page 30 of 67
B 6 Summary (Official Form 6 - Summary) (12/13)



                                       UNITED STATES BANKRUPTCY COURT
                                          __________
                                            MIDDLE DISTRICT OF GEORGIA



In re                                                                                     Case No. ___________________
        Luisa F. Campbell
        ________________________________________,
                                                                                                  13
                                                                                          Chapter ____________
                   Debtor

                                                    SUMMARY OF SCHEDULES
Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A, B, D, E, F, I,
and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets. Add the amounts of all
claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors also must complete the “Statistical
Summary of Certain Liabilities and Related Data” if they file a case under chapter 7, 11, or 13.

                                                  ATTACHED
 NAME OF SCHEDULE                                  (YES/NO)      NO. OF SHEETS             ASSETS               LIABILITIES              OTHER

 A - Real Property                                                                    $      30,000.00

 B - Personal Property                                                                $    179,302.00

 C - Property Claimed
     as Exempt

 D - Creditors Holding                                                                                      $       170,000.00
     Secured Claims

 E - Creditors Holding Unsecured                                                                            $                0.00
     Priority Claims
     (Total of Claims on Schedule E)

 F - Creditors Holding Unsecured                                                                            $       118,577.00
     Nonpriority Claims


 G - Executory Contracts and
     Unexpired Leases


 H - Codebtors


 I - Current Income of                                                                                                              $          950.00
     Individual Debtor(s)

 J - Current Expenditures of Individual                                                                                             $          500.00
     Debtors(s)

                                          TOTAL                                       $    209,302.00       $       288,577.00
                                                                         0
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B 6 Summary (Official Form 6 - Summary) (12/13)


                                   UNITED STATES BANKRUPTCY COURT
                                      _________________________________
                                             MIDDLE DISTRICT OF GEORGIA


In re                                                                                   Case No. ___________________
        Luisa F. Campbell
        _______________________________________,                                                13
                                                                                        Chapter ____________
                   Debtor


    STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
          If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.
§ 101(8)), filing a case under chapter 7, 11 or 13, you must report all information requested below.

            Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to report any
information here.

This information is for statistical purposes only under 28 U.S.C. § 159.

Summarize the following types of liabilities, as reported in the Schedules, and total them.



 Type of Liability                                                    Amount

 Domestic Support Obligations (from Schedule E)                       $            0.00
 Taxes and Certain Other Debts Owed to Governmental Units             $            0.00
 (from Schedule E)

 Claims for Death or Personal Injury While Debtor Was                 $            0.00
 Intoxicated (from Schedule E) (whether disputed or undisputed)

 Student Loan Obligations (from Schedule F)                           $            0.00
 Domestic Support, Separation Agreement, and Divorce Decree           $
 Obligations Not Reported on Schedule E

 Obligations to Pension or Profit-Sharing, and Other Similar          $            0.00
 Obligations (from Schedule F)

                                                           TOTAL      $            0.00

State the following:
 Average Income (from Schedule I, Line 12)                            $         950.00

 Average Expenses (from Schedule J, Line 22)                          $         500.00
 Current Monthly Income (from Form 22A Line 12; OR, Form              $         950.00
 22B Line 11; OR, Form 22C Line 20 )

State the following:
  1. Total from Schedule D, “UNSECURED PORTION, IF                                        $      120,000.00
  ANY” column

  2. Total from Schedule E, “AMOUNT ENTITLED TO                       $            0.00
  PRIORITY” column.

  3. Total from Schedule E, “AMOUNT NOT ENTITLED TO                                       $              0.00
  PRIORITY, IF ANY” column

  4. Total from Schedule F                                                                $      118,577.00

  5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                            $      238,577.00
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B6 Declaration (Official Form 6 - Declaration) (12/07)       Doc 1              Filed 10/06/14 Entered 10/06/14 17:09:46                                                                Desc Main
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      In re
              Luisa F. Campbell
              _________________________________________                                                                  ,                Case No. ______________________________
                           Debtor                                                                                                                              (if known)




                              DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                                  DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR


                                                                                                            18 sheets, and that they are true and correct to the best of
    I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of _____
my knowledge, information, and belief.


     October 6, 2014
Date __________________________________                                                                                        /s/Luisa F. Campbell
                                                                                                                    Signature: ________________________________________________
                                                                                                                                                 Luisa F. Campbell Debtor

Date __________________________________                                                                             Signature: ________________________________________________
                                                                                                                                                                                            (Joint Debtor, if any)

                                                                                                                          [If joint case, both spouses must sign.]

                                   -------------------------------------------------------------------------------------------------------------------------------------------
                             DECLARATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)

  I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for compensation and have provided
the debtor with a copy of this document and the notices and information required under 11 U.S.C. §§ 110(b), 110(h) and 342(b); and, (3) if rules or guidelines have been
promulgated pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services chargeable by bankruptcy petition preparers, I have given the debtor notice of the maximum
amount before preparing any document for filing for a debtor or accepting any fee from the debtor, as required by that section.

_____________________________________________________                                             _____________________________
Printed or Typed Name and Title, if any,                                                          Social Security No.
of Bankruptcy Petition Preparer                                                                   (Required by 11 U.S.C. § 110.)

If the bankruptcy petition preparer is not an individual, state the name, title (if any), address, and social security number of the officer, principal, responsible person, or partner
who signs this document.
_________________________________
_________________________________
_________________________________
Address

X _____________________________________________________                                                                         ____________________
 Signature of Bankruptcy Petition Preparer                                                                                      Date


Names and Social Security numbers of all other individuals who prepared or assisted in preparing this document, unless the bankruptcy petition preparer is not an individual:

If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person.


A bankruptcy petition preparer's failure to comply with the provisions of title 11 and the Federal Rules of Bankruptcy Procedure may result in fines or imprisonment or both. 11 U.S.C. § 110;
18 U.S.C. § 156.
   --------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------

                     DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF A CORPORATION OR PARTNERSHIP


    I, the __________________________________ [the president or other officer or an authorized agent of the corporation or a member or an authorized agent of the
partnership ] of the ___________________________________ [corporation or partnership] named as debtor in this case, declare under penalty of perjury that I have
read the foregoing summary and schedules, consisting of _____ sheets (Total shown on summary page plus 1), and that they are true and correct to the best of my
knowledge, information, and belief.


Date ______________________________________
                                                                                                        Signature: _____________________________________________________________

                                                                                                                       ____________________________________________________________
                                                                                                                         [Print or type name of individual signing on behalf of debtor.]

[An individual signing on behalf of a partnership or corporation must indicate position or relationship to debtor.]
 ----------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------
Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C. §§ 152 and 3571.
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B 1D (Official Form 1, Exhibit D) (12/09)




                             UNITED STATES BANKRUPTCY COURT
                                                MIDDLE DISTRICT OF GEORGIA

In re Luisa F. Campbell                                                  Case No.
                                       Debtor

            EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                            CREDIT COUNSELING REQUIREMENT

Warning: You must be able to check truthfully one of the five statements regarding credit
counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy case, and the
court can dismiss any case you do file. If that happens, you will lose whatever filing fee you paid,
and your creditors will be able to resume collection activities against you. If your case is dismissed
and you file another bankruptcy case later, you may be required to pay a second filing fee and you
may have to take extra steps to stop creditors’ collection activities.

        Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must
complete and file a separate Exhibit D. Check one of the five statements below and attach any documents
as directed.

         1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a
credit counseling agency approved by the United States trustee or bankruptcy administrator that outlined
the opportunities for available credit counseling and assisted me in performing a related budget analysis,
and I have a certificate from the agency describing the services provided to me. Attach a copy of the
certificate and a copy of any debt repayment plan developed through the agency.

         2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a
credit counseling agency approved by the United States trustee or bankruptcy administrator that outlined
the opportunities for available credit counseling and assisted me in performing a related budget analysis,
but I do not have a certificate from the agency describing the services provided to me. You must file a
copy of a certificate from the agency describing the services provided to you and a copy of any debt
repayment plan developed through the agency no later than 15 days after your bankruptcy case is filed.
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B 1D (Official Form 1, Exh. D) (12/09) – Cont.



         3. I certify that I requested credit counseling services from an approved agency but was unable
to obtain the services during the five days from the time I made my request, and the following exigent
circumstances merit a temporary waiver of the credit counseling requirement so I can file my bankruptcy
case now.

If your certification is satisfactory to the court, you must still obtain the credit counseling briefing
within the first 30 days after you file your bankruptcy petition and promptly file a certificate from
the agency that provided the counseling, together with a copy of any debt management plan
developed through the agency. Failure to fulfill these requirements may result in dismissal of your
case. Any extension of the 30-day deadline can be granted only for cause and is limited to a
maximum of 15 days. Your case may also be dismissed if the court is not satisfied with your reasons
for filing your bankruptcy case without first receiving a credit counseling briefing.

            4. I am not required to receive a credit counseling briefing because of:

                   Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness
          or mental deficiency so as to be incapable of realizing and making rational decisions with respect
          to financial responsibilities.);
                   Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of
          being unable, after reasonable effort, to participate in a credit counseling briefing in person, by
          telephone, or through the Internet.);
                   Active military duty in a military combat zone.

         5. The United States trustee or bankruptcy administrator has determined that the credit
counseling requirement of 11 U.S.C. ' 109(h) does not apply in this district.

          I certify under penalty of perjury that the information provided above is true and correct.


Signature of Debtor: /s/Luisa F. Campbell

Date: October 6, 2014




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                          UNITED STATES BANKRUPTCY COURT
                                                MIDDLE DISTRICT OF GEORGIA


In re: Luisa F. Campbell                                                Case No
                                 Debtor                                                             (if known)



                                          STATEMENT OF FINANCIAL AFFAIRS

        1. Income from employment or operation of business
None        State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of
           the debtor's business, including part-time activities either as an employee or in independent trade or business, from the
            beginning of this calendar year to the date this case was commenced. State also the gross amounts received during the
            two years immediately preceding this calendar year. (A debtor that maintains, or has maintained, financial records on
            the basis of a fiscal rather than a calendar year may report fiscal year income. Identify the beginning and ending dates
            of the debtor's fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing
            under chapter 12 or chapter 13 must state income of both spouses whether or not a joint petition is filed, unless the
            spouses are separated and a joint petition is not filed.)

                            AMOUNT                                          SOURCE

            Debtor:
                         Current Year (2014):
                         $2,000.00                                        Self-Emploiyed at Smileys


                         Previous Year 1 (2013):
                         $0.00                                            Self-Employed Store Owner


                         Previous Year 2 (2012):
                         $0.00                                            Self-Employed Store Owner

            Spouse:
                         Current Year (2014):


                         Previous Year 1 (2013):


                         Previous Year 2 (2012):



            2. Income other than from employment or operation of business

None        State the amount of income received by the debtor other than from employment, trade, profession, operation of the
           debtor's business during the two years immediately preceding the commencement of this case. Give particulars. If a
            joint petition is filed, state income for each spouse separately. (Married debtors filing under chapter 12 or chapter 13
            must state income for each spouse whether or not a joint petition is filed, unless the spouses are separated and a joint
            petition is not filed.)

                                AMOUNT                                        SOURCE
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         3. Payments to creditors

         Complete a. or b., as appropriate, and c.

None     a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of
        goods or services, and other debts to any creditor made within 90 days immediately preceding the commencement of
         this case unless the aggregate value of all property that constitutes or is affected by such transfer is less than $600.
         Indicate with an asterisk (*) any payments that were made to a creditor on account of a domestic support obligation or
         as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and credit counseling
         agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses
         whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

         NAME AND ADDRESS OF CREDITOR                               DATES OF               AMOUNT                  AMOUNT
                                                                    PAYMENTS               PAID                    STILL OWING




None     b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made
        within 90 days immediately preceding the commencement of the case unless the aggregate value of all property that
         constitutes or is affected by such transfer is less than $6,225*. If the debtor is an individual, indicate with an asterisk (*)
         any payments that were made to a creditor on account of a domestic support obligation or as part of an alternative
         repayment schedule under a plan by an approved nonprofit budgeting and credit counseling agency. (Married debtors
         filing under chapter 12 or chapter 13 must include payments and other transfers by either or both spouses whether or
         not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

         NAME AND ADDRESS OF CREDITOR                                DATES OF               AMOUNT                 AMOUNT
                                                                     PAYMENTS/              PAID OR                STILL
                                                                     TRANSFERS              VALUE OF               OWING
                                                                                            TRANSFERS


         Debtor:
         Spouse:
         N/A


None     c. All debtors: List all payments made within one year immediately preceding the commencement of this case
        to or for the benefit of creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must
         include payments by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and
         a joint petition is not filed.)

         NAME AND ADDRESS OF CREDITOR                                DATE OF                AMOUNT                 AMOUNT
         AND RELATIONSHIP TO DEBTOR                                  PAYMENT                PAID                   STILL OWING




         4. Suits and administrative proceedings, executions, garnishments and attachments

None     a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately
        preceding the filing of this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include
         information concerning either or both spouses whether or not a joint petition is filed, unless the spouses are separated
         and a joint petition is not filed.)separated and a joint petition is not filed.)

         CAPTION OF SUIT                               NATURE OF                  COURT OR                   STATUS OR

* Amount subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date
of adjustment.
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       AND CASE NUMBER                             PROCEEDING                AGENCY AND                 DISPOSITION
                                                                             LOCATION

       Debtor:
       Cecil Perkins                              Complaint                 District Court, Middle     Pending
       Case Number: 5:14-cv-78(CAR)                                         District
                                                                            Macon, GA

       Cecil Perkins                              EEOC Claim                EEOC                       Unknown
       Case Number: Unknown                                                 Georgia

       Mini-Food Stores, Inc.                     Dispossessory             State Court                Pending
       Case Number: 83418                                                   Bibb COunty

       Star Coun, Inc.                            Suit on Contract          Superior Court             Pending
       Case Number: 108235                                                  Houston County

       Kqazi Enterprises, Inc.                    Complaint                 Magistrate Court           Pending
       Case Number: Unknown                                                 Bibb County

       Bibb County Tax Commissioner               Tax Lien                  Superior Court             Judgment
       Case Number: BK886PG199                                              Bibb County

       Spouse:
       N/A


None   b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one
      year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13
       must include information concerning property of either or both spouses whether or not a joint petition is filed, unless
       the spouses are separated and a joint petition is not filed.)

       NAME AND ADDRESS                                                                 DESCRIPTION
       OF PERSON FOR WHOSE                                        DATE OF               AND VALUE
       BENEFIT PROPERTY WAS SEIZED                                SEIZURE               OF PROPERTY




       5. Repossessions, foreclosures and returns

None   List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu
      of foreclosure or returned to the seller, within one year immediately preceding the commencement of this case.
       (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both
       spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                 DATE OF REPOSSESSION,                    DESCRIPTION
       NAME AND ADDRESS                          FORECLOSURE SALE,                        AND VALUE
       OF CREDITOR OR SELLER                     TRANSFER OR RETURN                       OF PROPERTY


       Debtor:
       House in Macon                           September 2013                           DISPUTED - 3821 Blossfield Avenue,
       3821 Blossfield Avenue                                                            Macon, GA 31204
       Macon, GA 31204                                                                   Value: $30,000.00

       Spouse:
       N/A
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       6. Assignments and receiverships

None   a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the
      commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by
       either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
       filed.)

                                                                                          TERMS OF
       NAME AND ADDRESS                                            DATE OF                ASSIGNMENT
       OF ASSIGNEE                                                 ASSIGNMENT             OR SETTLEMENT




None   b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year
      immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
       include information concerning property of either or both spouses whether or not a joint petition is filed, unless the
       spouses are separated and a joint petition is not filed.)

                                          NAME AND LOCATION                                      DESCRIPTION
       NAME AND ADDRESS                   OF COURT                            DATE OF            AND VALUE
       OF CUSTODIAN                       CASE TITLE & NUMBER                 ORDER              OF PROPERTY




       7. Gifts

None   List all gifts or charitable contributions made within one year immediately preceding the commencement of this case
      except ordinary and usual gifts to family members aggregating less than $200 in value per individual family member
       and charitable contributions aggregating less than $100 per recipient. (Married debtors filing under chapter 12 or
       chapter 13 must include gifts or contributions by either or both spouses whether or not a joint petition is filed, unless
       the spouses are separated and a joint petition is not filed.)

       NAME AND ADDRESS                   RELATIONSHIP                                           DESCRIPTION
       OF PERSON                          TO DEBTOR,                          DATE               AND VALUE
       OR ORGANIZATION                    IF ANY                              OF GIFT            OF GIFT




       8. Losses

None   List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement
      of this case or since the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
       include losses by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
       joint petition is not filed.)

       DESCRIPTION                      DESCRIPTION OF CIRCUMSTANCES AND, IF
       AND VALUE OF                     LOSS WAS COVERED IN WHOLE OR IN PART                              DATE
       PROPERTY                         BY INSURANCE, GIVE PARTICULARS                                    OF LOSS

       Debtor
       Spouse:
       N/A



       9. Payments related to debt counseling or bankruptcy
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None   List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for
      consultation concerning debt consolidation, relief under the bankruptcy law or preparation of a petition in bankruptcy
       within one year immediately preceding the commencement of this case.

                                                DATE OF PAYMENT,                          AMOUNT OF MONEY OR
       NAME AND ADDRESS                         NAME OF PAYER IF                          DESCRIPTION AND
       OF PAYEE                                 OTHER THAN DEBTOR                         VALUE OF PROPERTY

       Debtor:
       001 Debtorcc, Inc.                       6/24/2014                                 $9.95
       378 Summit Avenue                                                                  Certificate of Credit Counseling
       Jersey City, NJ 07306


       Emmett L. Goodman, Jr., LLC              8/14/2014                                 $2,000.00
       544 Mulberry Street, Suite 800           9/8/2014                                  $1,335.00
       Macon , GA 31201                         9/1/2014                                  $250.00
                                                                                          Attorney's fees and costs


       Spouse:
       N/A



       10. Other transfers

None   a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of
      the debtor, transferred either absolutely or as security within two years immediately preceding the commencement of
       this case. (Married debtors filing under chapter 12 or chapter 13 must include transfers by either or both spouses
       whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                                              DESCRIBE PROPERTY
       NAME AND ADDRESS OF TRANSFEREE,                                                        TRANSFERRED AND
       RELATIONSHIP TO DEBTOR                                          DATE                   VALUE RECEIVED

       Debtor:
       Winthrop Properties, LLC                                        10/25/2013             3314 11th Avenue, Columbus, GA
       7025 Winthrop Court                                                                    Value: $32,000.00
       Columbus, GA 31904
       Relationship to Debtor: None

       Unknown                                                         2014                   2002 Ford F150 4x4
       ---                                                                                    Value: $2,000.00
       - - -, - - - - -
       Relationship to Debtor: Employee/1099

       Unknown                                                         2014                   1998 Ford F150
       ---                                                                                    Value: $800.00
       - - -, - - - - -
       Relationship to Debtor: Employee

       Unknown                                                         2014                   Mitsubish Montero
       ---                                                                                    Value: $500.00
       - - -, - - - - -
       Relationship to Debtor: Employee

       Unknown                                                         2014                   1997 Ford F-350
       ---                                                                                    Value: $3,000.00
       - - -, - - - - -
       Relationship to Debtor: Employee
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       Unknown                                                         2014                   2000 Econoline Van
       ---                                                                                    Value: $900.00
       - - -, - - - - -
       Relationship to Debtor: Employee

       Unknown                                                         2014                   2005 Dodge Ram
       ---                                                                                    Value: $800.00
       - - -, - - - - -
       Relationship to Debtor: Employee/Friend

       Spouse:
       N/A


None   b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case
      to a self-settled trust or similar device of which the debtor is a beneficiary.

                                                          DATE(S) OF           AMOUNT OF MONEY OR DESCRIPTION
       NAME OF TRUST OR OTHER                             TRANSFER(S)          AND VALUE OF PROPERTY OR DEBTOR’S
       DEVICE                                                                  INTEREST IN PROPERTY




       11. Closed financial accounts

None   List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were
      closed, sold, or otherwise transferred within one year immediately preceding the commencement of this case. Include
       checking, savings, or other financial accounts, certificates of deposit, or other instruments; shares and share accounts
       held in banks, credit unions, pension funds, cooperatives, associations, brokerage houses and other financial
       institutions. (Married debtors filing under chapter 12 or chapter 13 must include information concerning accounts or
       instruments held by or for either or both spouses whether or not a joint petition is filed, unless the spouses are separated
       and a joint petition is not filed.)

                                                                  TYPE OF ACCOUNT, LAST FOUR                  AMOUNT AND
       NAME AND ADDRESS                                           DIGITS OF ACCOUNT NUMBER,                   DATE OF SALE
       OF INSTITUTION                                             AND AMOUNT OF FINAL                         OR CLOSING
                                                                  BALANCE




       12. Safe deposit boxes

None   List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables
      within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or
       chapter 13 must include boxes or depositories of either or both spouses whether or not a joint petition is filed, unless
       the spouses are separated and a joint petition is not filed.)

       NAME AND ADDRESS                     NAMES AND ADDRESSES               DESCRIPTION                 DATE OF
       OF BANK OR                           OF THOSE WITH ACCESS              OF                          TRANSFER
       OTHER DEPOSITORY                     TO BOX OR DEPOSITORY              CONTENTS                    OR SURRENDER,
                                                                                                          IF ANY




       13. Setoffs
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None   List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding
      the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information
       concerning either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
       petition is not filed.)

                                                                             DATE OF                       AMOUNT
       NAME AND ADDRESS OF CREDITOR                                          SETOFF                        OF SETOFF




       14. Property held for another person


None   List all property owned by another person that the debtor holds or controls.


       NAME AND ADDRESS                          DESCRIPTION AND
       OF OWNER                                  VALUE OF PROPERTY                        LOCATION OF PROPERTY




       15. Prior address of debtor

None   If debtor has moved within three years immediately preceding the commencement of this case, list all premises
      which the debtor occupied during that period and vacated prior to the commencement of this case. If a joint petition is
       filed, report also any separate address of either spouse.

       ADDRESS                                     NAME USED                               DATES OF OCCUPANCY

       Debtor:
       3821 Blossfield Court                     Luisa Campbell                           4/1/2012 - present
       Macon, GA 31204

       317 Ferguson Street                       Luisa Campbell                           1997 - 4/2012
       Warner Robins, GA 31093

       Spouse:
       N/A



       16. Spouses and Former Spouses

None   If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona,
      California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years
       immediately preceding the commencement of the case, identify the name of the debtor’s spouse and of
       any former spouse who resides or resided with the debtor in the community property state.

       NAME




       17. Environmental Information.

       For the purpose of this question, the following definitions apply:
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                                                                                                                                  8

       "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination,
       releases of hazardous or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or
       other medium, including, but not limited to, statutes or regulations regulating the cleanup of these substances, wastes,
       or material.

       Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or
       formerly owned or operated by the debtor, including, but not limited to, disposal sites. "

       "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous
       material, pollutant, or contaminant or similar term under an Environmental Law.

None   a. List the name and address of every site for which the debtor has received notice in writing by a governmental
      unit that it may be liable or potentially liable under or in violation of an Environmental Law. Indicate the
       governmental unit, the date of the notice, and, if known, the Environmental Law:

       SITE NAME                            NAME AND ADDRESS     DATE OF                                  ENVIRONMENTAL
       AND ADDRESS                          OF GOVERNMENTAL UNIT NOTICE                                   LAW




None   b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release
      of Hazardous Material. Indicate the governmental unit to which the notice was sent and the date of the notice.

       SITE NAME                           NAME AND ADDRESS     DATE OF                                   ENVIRONMENTAL
       AND ADDRESS                         OF GOVERNMENTAL UNIT NOTICE                                    LAW




None   c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with
      respect to which the debtor is or was a party. Indicate the name and address of the governmental unit that is or was a
       party to the proceeding, and the docket number.

       NAME AND ADDRESS                                                                             STATUS OR
       OF GOVERNMENTAL UNIT                                           DOCKET NUMBER                 DISPOSITION




       18 . Nature, location and name of business

None   a. If the debtor is an individual, list the names, addresses, taxpayer-identification numbers, nature of the businesses,
      and beginning and ending dates of all businesses in which the debtor was an officer, director, partner, or managing
       executive of a corporation, partner in a partnership, sole proprietor, or was self-employed in a trade, profession, or
       other activity either full- or part-time within six years immediately preceding the commencement of this case, or in
       which the debtor owned 5 percent or more of the voting or equity securities within six years immediately preceding
       the commencement of this case.

             If the debtor is a partnership, list the names, addresses, taxpayer-identification numbers, nature of the businesses,
             and beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of
             the voting or equity securities, within six years immediately preceding the commencement of this case.

             If the debtor is a corporation, list the names, addresses, taxpayer-identification numbers, nature of the businesses,
             and beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of
             the voting or equity securities within six years immediately preceding the commencement of this case.


                           LAST FOUR DIGITS
                           OF SOCIAL-SECURITY                                                                   BEGINNING
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                            OR OTHER INDIVIDUAL                                                                      AND
                            TAXPAYER-I.D. NO                                                 NATURE OF               ENDING
       NAME                 (ITIN)/ COMPLETE EIN             ADDRESS                         BUSINESS                DATES

       Debtor:
       Flores Seafood       2696/                            Smiley's Flea Market            Owned inventory         Beginning Date:
                            ---                              Macon, GA 31206                 only and leased         2/2014
                                                                                             table. Transferred      Ending Date:
                                                                                             to Grant                8/2014
                                                                                             Prosperidad when
                                                                                             closed. Debtor
                                                                                             now employed
                                                                                             with this person

       Lulu's Asian &       2696/                            Carl Vinson Parkway     Store. Debtor                   Beginning Date:
       Latino Market        ---                              Warner Robins, GA 31093 owned inventory                 2012
                                                                                     and leased                      Ending Date:
                                                                                     premises.                       2013
                                                                                     Remaining
                                                                                     inventory
                                                                                     transferred to
                                                                                     Flores Seafood
                                                                                     when closed and
                                                                                     sold

       Food Mart            2696/                            Riverside Drive                 Store - Debtor          Beginning Date:
       (Shell)              ---                              Macon, GA 31210                 owned inventory         2012
                                                                                             and leased              Ending Date:
                                                                                             premises                2013

       L & C Billiards      2696/                            4775 Log Cabin Drive            LLC organised           Beginning Date:
       & Bar #2, LLC        ---                              Macon, GA 31206                 with Debtor as          5/2012 - never
                                                                                             registered agent &      opened
                                                                                             100% owner, but         Ending Date:
                                                                                             never opened            N/A

       L & C Billiards      2696/                            ---                             Business                Beginning Date:
       #1                   ---                              Byron, GA 31008                 transferred to          2012
                                                                                             future husband          Ending Date:
                                                                                             Claudio Gayoso in       2012
                                                                                             2012, but closed
                                                                                             down completely
                                                                                             after 6 months.
                                                                                             No assets
                                                                                             remaining. Sued
                                                                                             by gaming
                                                                                             machine provider
                                                                                             listed in Schedule
                                                                                             F

       Spouse:
       N/A


None   b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as
      defined in 11 U.S.C. § 101.

       NAME                                      ADDRESS
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           The following questions are to be completed by every debtor that is a corporation or partnership and by any individual
debtor who is or has been, within six years immediately preceding the commencement of this case, any of the following: an
officer, director, managing executive, or owner of more than 5 percent of the voting or equity securities of a corporation; a
partner, other than a limited partner, of a partnership, a sole proprietor, or self-employed in a trade, profession, or other activity,
either full- or part-time.

           (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in
business, as defined above, within six years immediately preceding the commencement of this case. A debtor who has not been
in business within those six years should go directly to the signature page.)


          19. Books, records and financial statements

None      a. List all bookkeepers and accountants who within two years immediately preceding the filing of this
         bankruptcy case kept or supervised the keeping of books of account and records of the debtor.

          NAME AND ADDRESS                                                                      DATES SERVICES RENDERED

          Debtor:
          N/A

          Spouse:
          N/A


None      b. List all firms or individuals who within two years immediately preceding the filing of this bankruptcy
         case have audited the books of account and records, or prepared a financial statement of the debtor.

          NAME                                      ADDRESS                                     DATES SERVICES RENDERED

          Debtor:
          N/A

          Spouse:
          N/A


None      c. List all firms or individuals who at the time of the commencement of this case were in possession of the
         books of account and records of the debtor. If any of the books of account and records are not available, explain.

          NAME                                                 ADDRESS

          Debtor:
          N/A

          Spouse:
          N/A


None      d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a
         financial statement was issued by the debtor within two years immediately preceding the commencement of this case.

          NAME AND ADDRESS                                                                    DATE ISSUED

          Debtor:
          N/A

          Spouse:
          N/A
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       20. Inventories

None   a. List the dates of the last two inventories taken of your property, the name of the person who supervised the
      taking of each inventory, and the dollar amount and basis of each inventory.

                                                                                            DOLLAR AMOUNT
                                                                                            OF INVENTORY
                                                                                            (Specify cost, market or other
       DATE OF INVENTORY                        INVENTORY SUPERVISOR                        basis)

       Debtor:
       N/A

       Spouse:
       N/A


None   b. List the name and address of the person having possession of the records of each of the inventories reported
      in a., above.

                                                NAME AND ADDRESSES
                                                OF CUSTODIAN
       DATE OF INVENTORY                        OF INVENTORY RECORDS

       Debtor:
       N/A

       N/A



       21. Current Partners, Officers, Directors and Shareholders

None   a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the
      partnership.

       NAME AND ADDRESS                           NATURE OF INTEREST                        PERCENTAGE OF INTEREST

       N/A


None   b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who
      directly or indirectly owns, controls, or holds 5 percent or more of the voting or equity securities of the
       corporation.

                                                                                            NATURE AND PERCENTAGE
       NAME AND ADDRESS                           TITLE                                     OF STOCK OWNERSHIP

       N/A



       22. Former partners, officers, directors and shareholders

None   a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately
      preceding the commencement of this case.

       NAME                                     ADDRESS                                     DATE OF WITHDRAWAL

       N/A
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None   b. If the debtor is a corporation, list all officers or directors whose relationship with the corporation terminated
      within one year immediately preceding the commencement of this case.

       NAME AND ADDRESS                                    TITLE                                   DATE OF TERMINATION

       N/A



       23 . Withdrawals from a partnership or distributions by a corporation

None   If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider,
      including compensation in any form, bonuses, loans, stock redemptions, options exercised and any other perquisite
       during one year immediately preceding the commencement of this case.


       NAME & ADDRESS                                                                        AMOUNT OF MONEY
       OF RECIPIENT,                               DATE AND PURPOSE                          OR DESCRIPTION
       RELATIONSHIP TO DEBTOR                      OF WITHDRAWAL                             AND VALUE OF PROPERTY

       N/A



       24. Tax Consolidation Group.

None   If the debtor is a corporation, list the name and federal taxpayer-identification number of the parent corporation of any
      consolidated group for tax purposes of which the debtor has been a member at any time within six years immediately
       preceding the commencement of the case.

       NAME OF PARENT CORPORATION                                        TAXPAYER-IDENTIFICATION NUMBER (EIN)




       25. Pension Funds.

None   If the debtor is not an individual, list the name and federal taxpayer-identification number of any pension fund to
      which the debtor, as an employer, has been responsible for contributing at any time within six years immediately
       preceding the commencement of the case.

       NAME OF PENSION FUND                                             TAXPAYER-IDENTIFICATION NUMBER (EIN)



                                                           ******


       I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs
       and any attachments thereto and that they are true and correct.



                                                                      Signature
       Date October 6, 2014                                           of Debtor      /s/Luisa F. Campbell

                                                                      Signature of
                                                                      Joint Debtor
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   Date                                                                      (if any)

                                                       0 continuation sheets attached


      Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 and 3571
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B 1C (Official Form 1, Exhibit C) (9/01)
[If, to the best of the debtor’s knowledge, the debtor owns or has possession of property that poses or is alleged to pose a
threat of imminent and identifiable harm to the public health or safety, attach this Exhibit “C” to the petition.]



                            UNITED STATES BANKRUPTCY COURT
                                              MIDDLE DISTRICT OF GEORGIA

In re Luisa F. Campbell,                                                           )   Case No.
                                     Debtor                                        )
                                                                                   )
                                                                                   )   Chapter 13


                                     EXHIBIT “C” TO VOLUNTARY PETITION
         1. Identify and briefly describe all real or personal property owned by or in possession of the debtor that, to the best of
the debtor’s knowledge, poses or is alleged to pose a threat of imminent and identifiable harm to the public health or safety
(attach additional sheets if necessary):


         2. With respect to each parcel of real property or item of personal property identified in question 1, describe the nature
and location of the dangerous condition, whether environmental or otherwise, that poses or is alleged to pose a threat of
imminent and identifiable harm to the public health or safety (attach additional sheets if necessary):
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B 22C (Official Form 22C) (Chapter 13) (04/13)


      Luisa F. Campbell
In re ______________________________                             According to the calculations required by this statement:
                Debtor(s)                                         X The applicable commitment period is 3 years.
                                                                    The applicable commitment period is 5 years.
Case Number: __________________                                     Disposable income is determined under § 1325(b)(3).
               (If known)                                         X Disposable income is not determined under § 1325(b)(3).
                                                                 (Check the boxes as directed in Lines 17 and 23 of this statement.)


                       CHAPTER 13 STATEMENT OF CURRENT MONTHLY INCOME
                 AND CALCULATION OF COMMITMENT PERIOD AND DISPOSABLE INCOME
In addition to Schedules I and J, this statement must be completed by every individual chapter 13 debtor, whether or not filing
jointly. Joint debtors may complete one statement only.


                                                  Part I. REPORT OF INCOME
          Marital/filing status. Check the box that applies and complete the balance of this part of this statement as directed.
   1      a.   Unmarried. Complete only Column A (“Debtor’s Income”) for Lines 2-10.
          b. X Married. Complete both Column A (“Debtor’s Income”) and Column B (“Spouse’s Income”) for Lines 2-10.
          All figures must reflect average monthly income received from all sources, derived during the    Column A         Column B
          six calendar months prior to filing the bankruptcy case, ending on the last day of the month     Debtor’s         Spouse’s
          before the filing. If the amount of monthly income varied during the six months, you must         Income           Income
          divide the six-month total by six, and enter the result on the appropriate line.
   2      Gross wages, salary, tips, bonuses, overtime, commissions.                                      $     950.00 $           0.00
          Income from the operation of a business, profession, or farm. Subtract Line b from Line a
          and enter the difference in the appropriate column(s) of Line 3. If you operate more than one
          business, profession or farm, enter aggregate numbers and provide details on an attachment.
          Do not enter a number less than zero. Do not include any part of the business expenses
   3      entered on Line b as a deduction in Part IV.
            a.      Gross receipts                                 $                          0.00
            b.      Ordinary and necessary business expenses       $                          0.00
            c.      Business income                                Subtract Line b from Line a            $        0.00 $          0.00
          Rent and other real property income. Subtract Line b from Line a and enter the difference
          in the appropriate column(s) of Line 4. Do not enter a number less than zero. Do not include
          any part of the operating expenses entered on Line b as a deduction in Part IV.
   4        a.      Gross receipts                                 $                          0.00
            b.      Ordinary and necessary operating expenses      $                          0.00
            c.      Rent and other real property income            Subtract Line b from Line a            $        0.00 $          0.00
   5      Interest, dividends, and royalties.                                                             $        0.00 $          0.00
   6      Pension and retirement income.                                                                  $        0.00 $          0.00
          Any amounts paid by another person or entity, on a regular basis, for the household
          expenses of the debtor or the debtor’s dependents, including child support paid for that
   7      purpose. Do not include alimony or separate maintenance payments or amounts paid by the
          debtor’s spouse. Each regular payment should be reported in only one column; if a payment is
          listed in Column A, do not report that payment in Column B.                                     $        0.00 $          0.00
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B 22C (Official Form 22C) (Chapter 13) (04/13)                                                                                        2
          Unemployment compensation. Enter the amount in the appropriate column(s) of Line 8.
          However, if you contend that unemployment compensation received by you or your spouse
          was a benefit under the Social Security Act, do not list the amount of such compensation in
   8      Column A or B, but instead state the amount in the space below:
           Unemployment compensation claimed to
           be a benefit under the Social Security Act   Debtor $ ________      Spouse $ _________            $               $
          Income from all other sources. Specify source and amount. If necessary, list additional
          sources on a separate page. Total and enter on Line 9. Do not include alimony or separate
          maintenance payments paid by your spouse, but include all other payments of alimony or
          separate maintenance. Do not include any benefits received under the Social Security Act or
   9      payments received as a victim of a war crime, crime against humanity, or as a victim of
          international or domestic terrorism.
            a.                                                                      $
            b.                                                                      $                        $        0.00 $        0.00
          Subtotal. Add Lines 2 thru 9 in Column A, and, if Column B is completed, add Lines 2
  10
          through 9 in Column B. Enter the total(s).                                                         $     950.00 $         0.00
          Total. If Column B has been completed, add Line 10, Column A to Line 10, Column B, and
  11      enter the total. If Column B has not been completed, enter the amount from Line 10, Column
          A.                                                                                                 $                   950.00

                          Part II. CALCULATION OF § 1325(b)(4) COMMITMENT PERIOD
  12      Enter the amount from Line 11.                                                                                     $   950.00
          Marital adjustment. If you are married, but are not filing jointly with your spouse, AND if you contend that
          calculation of the commitment period under § 1325(b)(4) does not require inclusion of the income of your
          spouse, enter on Line 13 the amount of the income listed in Line 10, Column B that was NOT paid on a
          regular basis for the household expenses of you or your dependents and specify, in the lines below, the basis
          for excluding this income (such as payment of the spouse’s tax liability or the spouse’s support of persons
          other than the debtor or the debtor’s dependents) and the amount of income devoted to each purpose. If
  13      necessary, list additional adjustments on a separate page. If the conditions for entering this adjustment do not
          apply, enter zero.
            a.                                                                       $
            b.                                                                       $
            c.                                                                       $
          Total and enter on Line 13.                                                                                        $      0.00
  14      Subtract Line 13 from Line 12 and enter the result.                                                                $   950.00

  15      Annualized current monthly income for § 1325(b)(4). Multiply the amount from Line 14 by the number 12
          and enter the result.                                                                                 $ 11,400.00
          Applicable median family income. Enter the median family income for applicable state and household size.
  16      (This information is available by family size at www.usdoj.gov/ust/ or from the clerk of the bankruptcy
          court.)
                                                    Georgia
          a. Enter debtor’s state of residence: _______________                                           2
                                                                  b. Enter debtor’s household size: __________               $ 53,381.00
          Application of § 1325(b)(4). Check the applicable box and proceed as directed.
           X The amount on Line 15 is less than the amount on Line 16. Check the box for “The applicable commitment period is
  17          3 years” at the top of page 1 of this statement and continue with this statement.
             The amount on Line 15 is not less than the amount on Line 16. Check the box for “The applicable commitment period
              is 5 years” at the top of page 1 of this statement and continue with this statement.
          Part III. APPLICATION OF § 1325(b)(3) FOR DETERMINING DISPOSABLE INCOME
  18      Enter the amount from Line 11.                                                                                     $   950.00
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B 22C (Official Form 22C) (Chapter 13) (04/13)                                                                                        3
          Marital adjustment. If you are married, but are not filing jointly with your spouse, enter on Line 19 the total
          of any income listed in Line 10, Column B that was NOT paid on a regular basis for the household expenses
          of the debtor or the debtor’s dependents. Specify in the lines below the basis for excluding the Column B
          income (such as payment of the spouse’s tax liability or the spouse’s support of persons other than the debtor
          or the debtor’s dependents) and the amount of income devoted to each purpose. If necessary, list additional
  19      adjustments on a separate page. If the conditions for entering this adjustment do not apply, enter zero.
            a.                                                                       $
            b.                                                                       $
            c.                                                                       $
          Total and enter on Line 19.                                                                                       $      0.00
  20      Current monthly income for § 1325(b)(3). Subtract Line 19 from Line 18 and enter the result.                      $   950.00

  21      Annualized current monthly income for § 1325(b)(3). Multiply the amount from Line 20 by the number 12
          and enter the result.                                                                                 $ 11,400.00
  22      Applicable median family income. Enter the amount from Line 16.                                                   $ 53,381.00
          Application of § 1325(b)(3). Check the applicable box and proceed as directed.
             The amount on Line 21 is more than the amount on Line 22. Check the box for “Disposable income is determined
  23          under § 1325(b)(3)” at the top of page 1 of this statement and complete the remaining parts of this statement.
           X The amount on Line 21 is not more than the amount on Line 22. Check the box for “Disposable income is not
              determined under § 1325(b)(3)” at the top of page 1 of this statement and complete Part VII of this statement. Do not
              complete Parts IV, V, or VI.
                               Part IV. CALCULATION OF DEDUCTIONS FROM INCOME
                    Subpart A: Deductions under Standards of the Internal Revenue Service (IRS)
          National Standards: food, apparel and services, housekeeping supplies, personal care, and
          miscellaneous. Enter in Line 24A the “Total” amount from IRS National Standards for Allowable Living
          Expenses for the applicable number of persons. (This information is available at www.usdoj.gov/ust/ or from
 24A
          the clerk of the bankruptcy court.) The applicable number of persons is the number that would currently be
          allowed as exemptions on your federal income tax return, plus the number of any additional dependents
          whom you support.                                                                                                 $
          National Standards: health care. Enter in Line a1 below the amount from IRS National Standards for Out-
          of-Pocket Health Care for persons under 65 years of age, and in Line a2 the IRS National Standards for Out-
          of-Pocket Health Care for persons 65 years of age or older. (This information is available at
          www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.) Enter in Line b1 the applicable number of
          persons who are under 65 years of age, and enter in Line b2 the applicable number of persons who are 65
          years of age or older. (The applicable number of persons in each age category is the number in that category
          that would currently be allowed as exemptions on your federal income tax return, plus the number of any
          additional dependents whom you support.) Multiply Line a1 by Line b1 to obtain a total amount for persons
 24B      under 65, and enter the result in Line c1. Multiply Line a2 by Line b2 to obtain a total amount for persons 65
          and older, and enter the result in Line c2. Add Lines c1 and c2 to obtain a total health care amount, and enter
          the result in Line 24B.
            Persons under 65 years of age                          Persons 65 years of age or older
            a1.     Allowance per person                           a2.    Allowance per person
            b1.     Number of persons                              b2.    Number of persons
            c1.     Subtotal                                       c2.    Subtotal                                          $
          Local Standards: housing and utilities; non-mortgage expenses. Enter the amount of the IRS Housing and
          Utilities Standards; non-mortgage expenses for the applicable county and family size. (This information is
 25A      available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court). The applicable family size
          consists of the number that would currently be allowed as exemptions on your federal income tax return, plus
          the number of any additional dependents whom you support.                                                         $
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          Local Standards: housing and utilities; mortgage/rent expense. Enter, in Line a below, the amount of the
          IRS Housing and Utilities Standards; mortgage/rent expense for your county and family size (this information
          is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court) (the applicable family size
          consists of the number that would currently be allowed as exemptions on your federal income tax return, plus
          the number of any additional dependents whom you support); enter on Line b the total of the Average
          Monthly Payments for any debts secured by your home, as stated in Line 47; subtract Line b from Line a and
 25B      enter the result in Line 25B. Do not enter an amount less than zero.
            a.      IRS Housing and Utilities Standards; mortgage/rent expense      $
            b.      Average Monthly Payment for any debts secured by your
                    home, if any, as stated in Line 47                              $
            c.      Net mortgage/rental expense                                     Subtract Line b from Line a.          $
          Local Standards: housing and utilities; adjustment. If you contend that the process set out in Lines 25A
          and 25B does not accurately compute the allowance to which you are entitled under the IRS Housing and
          Utilities Standards, enter any additional amount to which you contend you are entitled, and state the basis for
  26      your contention in the space below:
          ________________________________________________________________________________________
          ________________________________________________________________________________________
          ________________________________________________________________________________________ $
          Local Standards: transportation; vehicle operation/public transportation expense. You are entitled to an
          expense allowance in this category regardless of whether you pay the expenses of operating a vehicle and
          regardless of whether you use public transportation.
          Check the number of vehicles for which you pay the operating expenses or for which the operating expenses
          are included as a contribution to your household expenses in Line 7.    0      1      2 or more.
 27A
          If you checked 0, enter on Line 27A the “Public Transportation” amount from IRS Local Standards:
          Transportation. If you checked 1 or 2 or more, enter on Line 27A the “Operating Costs” amount from IRS
          Local Standards: Transportation for the applicable number of vehicles in the applicable Metropolitan
          Statistical Area or Census Region. (These amounts are available at www.usdoj.gov/ust/ or from the clerk of
          the bankruptcy court.)                                                                                          $
          Local Standards: transportation; additional public transportation expense. If you pay the operating
          expenses for a vehicle and also use public transportation, and you contend that you are entitled to an
 27B      additional deduction for your public transportation expenses, enter on Line 27B the “Public Transportation”
          amount from IRS Local Standards: Transportation. (This amount is available at www.usdoj.gov/ust/ or from
          the clerk of the bankruptcy court.)                                                                             $
          Local Standards: transportation ownership/lease expense; Vehicle 1. Check the number of vehicles for
          which you claim an ownership/lease expense. (You may not claim an ownership/lease expense for more than
          two vehicles.)       1      2 or more.
          Enter, in Line a below, the “Ownership Costs” for “One Car” from the IRS Local Standards: Transportation
          (available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of the
          Average Monthly Payments for any debts secured by Vehicle 1, as stated in Line 47; subtract Line b from
  28      Line a and enter the result in Line 28. Do not enter an amount less than zero.
            a.      IRS Transportation Standards, Ownership Costs                   $
            b.      Average Monthly Payment for any debts secured by Vehicle 1,
                    as stated in Line 47                                            $
            c.      Net ownership/lease expense for Vehicle 1                       Subtract Line b from Line a.          $
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          Local Standards: transportation ownership/lease expense; Vehicle 2. Complete this Line only if you
          checked the “2 or more” Box in Line 28.
          Enter, in Line a below, the “Ownership Costs” for “One Car” from the IRS Local Standards: Transportation
          (available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of the
          Average Monthly Payments for any debts secured by Vehicle 2, as stated in Line 47; subtract Line b from
  29      Line a and enter the result in Line 29. Do not enter an amount less than zero.
            a.      IRS Transportation Standards, Ownership Costs                     $
            b.      Average Monthly Payment for any debts secured by Vehicle 2,
                    as stated in Line 47                                              $
            c.      Net ownership/lease expense for Vehicle 2                         Subtract Line b from Line a.          $
          Other Necessary Expenses: taxes. Enter the total average monthly expense that you actually incur for all
  30      federal, state, and local taxes, other than real estate and sales taxes, such as income taxes, self-employment
          taxes, social-security taxes, and Medicare taxes. Do not include real estate or sales taxes.                      $
          Other Necessary Expenses: involuntary deductions for employment. Enter the total average monthly
  31      deductions that are required for your employment, such as mandatory retirement contributions, union dues,
          and uniform costs. Do not include discretionary amounts, such as voluntary 401(k) contributions.
                                                                                                                            $
          Other Necessary Expenses: life insurance. Enter total average monthly premiums that you actually pay for
  32      term life insurance for yourself. Do not include premiums for insurance on your dependents, for whole
          life or for any other form of insurance.                                                                          $
          Other Necessary Expenses: court-ordered payments. Enter the total monthly amount that you are required
  33      to pay pursuant to the order of a court or administrative agency, such as spousal or child support payments.
          Do not include payments on past due obligations included in Line 49.                                         $
          Other Necessary Expenses: education for employment or for a physically or mentally challenged child.
          Enter the total average monthly amount that you actually expend for education that is a condition of
  34
          employment and for education that is required for a physically or mentally challenged dependent child for
          whom no public education providing similar services is available.                                                 $
          Other Necessary Expenses: childcare. Enter the total average monthly amount that you actually expend on
  35      childcare—such as baby-sitting, day care, nursery and preschool. Do not include other educational
          payments.                                                                                                         $
          Other Necessary Expenses: health care. Enter the total average monthly amount that you actually expend
          on health care that is required for the health and welfare of yourself or your dependents, that is not reimbursed
  36
          by insurance or paid by a health savings account, and that is in excess of the amount entered in Line 24B. Do
          not include payments for health insurance or health savings accounts listed in Line 39.                           $
          Other Necessary Expenses: telecommunication services. Enter the total average monthly amount that you
          actually pay for telecommunication services other than your basic home telephone and cell phone service—
  37
          such as pagers, call waiting, caller id, special long distance, or internet service—to the extent necessary for
          your health and welfare or that of your dependents. Do not include any amount previously deducted.                $
  38      Total Expenses Allowed under IRS Standards. Enter the total of Lines 24 through 37.                               $

                                    Subpart B: Additional Living Expense Deductions
                           Note: Do not include any expenses that you have listed in Lines 24-37
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B 22C (Official Form 22C) (Chapter 13) (04/13)                                                                                    6
          Health Insurance, Disability Insurance, and Health Savings Account Expenses. List the monthly
          expenses in the categories set out in lines a-c below that are reasonably necessary for yourself, your spouse, or
          your dependents.
            a.        Health Insurance                                                 $
  39
            b.        Disability Insurance                                             $
            c.        Health Savings Account                                           $
          Total and enter on Line 39
                                                                                                                              $
          If you do not actually expend this total amount, state your actual total average monthly expenditures in the
          space below:
          $ ____________
          Continued contributions to the care of household or family members. Enter the total average actual
          monthly expenses that you will continue to pay for the reasonable and necessary care and support of an
  40
          elderly, chronically ill, or disabled member of your household or member of your immediate family who is
          unable to pay for such expenses. Do not include payments listed in Line 34.                                         $

          Protection against family violence. Enter the total average reasonably necessary monthly expenses that you
  41      actually incur to maintain the safety of your family under the Family Violence Prevention and Services Act or
          other applicable federal law. The nature of these expenses is required to be kept confidential by the court.  $
          Home energy costs. Enter the total average monthly amount, in excess of the allowance specified by IRS
          Local Standards for Housing and Utilities that you actually expend for home energy costs. You must provide
  42
          your case trustee with documentation of your actual expenses, and you must demonstrate that the
          additional amount claimed is reasonable and necessary.                                                     $
          Education expenses for dependent children under 18. Enter the total average monthly expenses that you
          actually incur, not to exceed $156.25 per child, for attendance at a private or public elementary or secondary
   43     school by your dependent children less than 18 years of age. You must provide your case trustee with
          documentation of your actual expenses, and you must explain why the amount claimed is reasonable
          and necessary and not already accounted for in the IRS Standards.                                                   $
          Additional food and clothing expense. Enter the total average monthly amount by which your food and
          clothing expenses exceed the combined allowances for food and clothing (apparel and services) in the IRS
  44      National Standards, not to exceed 5% of those combined allowances. (This information is available at
          www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.) You must demonstrate that the additional
          amount claimed is reasonable and necessary.                                                                         $
          Charitable contributions. Enter the amount reasonably necessary for you to expend each month on
  45      charitable contributions in the form of cash or financial instruments to a charitable organization as defined in
          26 U.S.C. § 170(c)(1)-(2). Do not include any amount in excess of 15% of your gross monthly income.                 $
  46      Total Additional Expense Deductions under § 707(b). Enter the total of Lines 39 through 45.                         $

                                                 Subpart C: Deductions for Debt Payment
          Future payments on secured claims. For each of your debts that is secured by an interest in property that
          you own, list the name of the creditor, identify the property securing the debt, state the Average Monthly
          Payment, and check whether the payment includes taxes or insurance. The Average Monthly Payment is the
          total of all amounts scheduled as contractually due to each Secured Creditor in the 60 months following the
          filing of the bankruptcy case, divided by 60. If necessary, list additional entries on a separate page. Enter the
          total of the Average Monthly Payments on Line 47.

                   Name of Creditor                Property Securing the Debt              Average      Does payment
  47                                                                                       Monthly       include taxes
                                                                                           Payment       or insurance?
            a.                                                                     $                     yes  no
            b.                                                                     $                     yes  no
            c.                                                                     $                     yes  no
                                                                                   Total: Add
                                                                                   Lines a, b, and c                          $
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B 22C (Official Form 22C) (Chapter 13) (04/13)                                                                                   7
          Other payments on secured claims. If any of debts listed in Line 47 are secured by your primary residence,
          a motor vehicle, or other property necessary for your support or the support of your dependents, you may
          include in your deduction 1/60th of any amount (the “cure amount”) that you must pay the creditor in addition
          to the payments listed in Line 47, in order to maintain possession of the property. The cure amount would
          include any sums in default that must be paid in order to avoid repossession or foreclosure. List and total any
          such amounts in the following chart. If necessary, list additional entries on a separate page.
  48
                    Name of Creditor                 Property Securing the Debt          1/60th of the Cure Amount
            a.                                                                          $
            b.                                                                          $
            c.                                                                          $
                                                                                        Total: Add Lines a, b, and c         $
          Payments on prepetition priority claims. Enter the total amount, divided by 60, of all priority claims, such
  49      as priority tax, child support and alimony claims, for which you were liable at the time of your bankruptcy
          filing. Do not include current obligations, such as those set out in Line 33.                                      $
          Chapter 13 administrative expenses. Multiply the amount in Line a by the amount in Line b, and enter the
          resulting administrative expense.

            a.     Projected average monthly chapter 13 plan payment.                   $
            b.     Current multiplier for your district as determined under
  50
                   schedules issued by the Executive Office for United States
                   Trustees. (This information is available at www.usdoj.gov/ust/
                   or from the clerk of the bankruptcy court.)                          x
            c.     Average monthly administrative expense of chapter 13 case
                                                                                        Total: Multiply Lines a and b        $
  51      Total Deductions for Debt Payment. Enter the total of Lines 47 through 50.                                         $

                                                 Subpart D: Total Deductions from Income
  52      Total of all deductions from income. Enter the total of Lines 38, 46, and 51.                                      $

                   Part V. DETERMINATION OF DISPOSABLE INCOME UNDER § 1325(b)(2)
  53      Total current monthly income. Enter the amount from Line 20.                                                       $
          Support income. Enter the monthly average of any child support payments, foster care payments, or
  54      disability payments for a dependent child, reported in Part I, that you received in accordance with applicable
          nonbankruptcy law, to the extent reasonably necessary to be expended for such child.                               $
          Qualified retirement deductions. Enter the monthly total of (a) all amounts withheld by your employer from
  55      wages as contributions for qualified retirement plans, as specified in § 541(b)(7) and (b) all required
          repayments of loans from retirement plans, as specified in § 362(b)(19).                                   $
  56      Total of all deductions allowed under § 707(b)(2). Enter the amount from Line 52.                                  $
          Deduction for special circumstances. If there are special circumstances that justify additional expenses for
          which there is no reasonable alternative, describe the special circumstances and the resulting expenses in lines
          a-c below. If necessary, list additional entries on a separate page. Total the expenses and enter the total in
          Line 57. You must provide your case trustee with documentation of these expenses and you must
          provide a detailed explanation of the special circumstances that make such expenses necessary and
          reasonable.
  57                Nature of special circumstances                                 Amount of expense
            a.                                                                      $
            b.                                                                      $
            c.                                                                      $
                                                                                    Total: Add Lines a, b, and c             $
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  58      Total adjustments to determine disposable income. Add the amounts on Lines 54, 55, 56, and 57 and enter
          the result.                                                                                                           $
  59      Monthly Disposable Income Under § 1325(b)(2). Subtract Line 58 from Line 53 and enter the result.                     $

                                             Part VI: ADDITIONAL EXPENSE CLAIMS
          Other Expenses. List and describe any monthly expenses, not otherwise stated in this form, that are required for the health
          and welfare of you and your family and that you contend should be an additional deduction from your current monthly
          income under § 707(b)(2)(A)(ii)(I). If necessary, list additional sources on a separate page. All figures should reflect your
          average monthly expense for each item. Total the expenses.
  60                                       Expense Description                                      Monthly Amount
            a.                                                                                 $
            b.                                                                                 $
            c.                                                                                 $
                                                             Total: Add Lines a, b, and c        $

                                                     Part VII: VERIFICATION
          I declare under penalty of perjury that the information provided in this statement is true and correct. (If this is a joint case,
          both debtors must sign.)

  61
                                October 6, 2014
                          Date: ________________________                                    /s/Luisa F. Campbell
                                                                                 Signature: ________________________
                                                                                                     (Debtor)
                          Date: ________________________                         Signature: ________________________
                                                                                             (Joint Debtor, if any)
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                                                MIDDLE DISTRICT OF GEORGIA




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          Luisa F. Campbell
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Attorney's fees will be hourly by fee application.




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Any adversary proceeding, hearings, trials, motions, or adjudications relative to the bankruptcy
proceeding whatsoever. Debtor agrees to pay for all costs including hiring of experts,
professionals or otherwise necessary for the prosecution of this case. This representation
does not cover any other legal matter unless a written contract is entered into between the
debtor and attorney or the firm.




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      October 6, 2014
      ÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁ                                     /s/DanielL.Wilder
                                                     ÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁ
                   Ü¿¬»                                                        Daniel L. Wilder
                                                                           Í·¹²¿¬«®» ±º ß¬¬±®²»§

                                                                  Emmett L. Goodman, Jr., LLC
                                                     ÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁ
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                                  UNITED STATES BANKRUPTCY COURT
                                            MIDDLE DISTRICT OF GEORGIA


In re                                                                     Chapter 13

        Luisa F. Campbell                                                 Case No.

                                 Debtors.



                             STATEMENT OF MONTHLY GROSS INCOME
The undersigned certifies the following is the debtor's monthly income.


Income:                                      Debtor                                          Spouse

    Six months ago                           $   950.00                                      $   0.00

    Five months ago                          $   950.00                                      $   0.00

    Four months ago                          $   950.00                                      $   0.00

    Three months ago                         $   950.00                                      $   0.00

    Two months ago                           $   950.00                                      $   0.00

    Last month                               $   950.00                                      $   0.00

    Total Gross income for six
    months preceding filing                  $   5,700.00                                    $   0.00

    Average Monthly Gross
    Income                                   $   950.00                                      $   0.00

    Average Monthly Net Income
    (from Schedule I)                        $   950.00                                      $   0.00




Dated:     October 6, 2014
                                                                                /s/Luisa F. Campbell
                                                                                  Luisa F. Campbell
                                                                                        Debtor
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                           Filed 10/06/14 Entered 10/06/14 17:09:46                                                 Desc Main
                            Document     Page 60 of 67
UNITED STATES BANKRUPTCY COURT
MIDDLE DISTRICT OF GEORGIA
________________________________________________________________________________________________________
In Re:                                                                   Case No.
         Luisa F. Campbell


                   Debtor(s)
________________________________________________________________________________________________________

                                          DECLARATION RE: ELECTRONIC FILING OF
                                           PETITION, SCHEDULES & STATEMENTS

PART I - DECLARATION OF PETITIONER

                  Luisa F. Campbell
          I (WE) _________________________________,             the undersigned debtor(s), hereby declare under penalty of perjury that
the information provided in the electronically filed petition, statements, and schedules is true and correct and that I signed these
documents prior to electronic filing. I consent to my attorney sending my petition, statements and schedules to the United States
Bankruptcy Court. I understand that this DECLARATION RE: ELECTRONIC FILING is to be executed at the First Meeting of Creditors
and filed with the Trustee. I understand that failure to file the signed and dated original of this DECLARATION may cause my case to be
dismissed pursuant to 11 U.S.C. § 707(a)(3) without further notice. I (we) further declare under penalty of perjury that I (we) signed the
original Statement of Social Security Number (s), (Official Form B21), prior to the electronic filing of the petition and have verified the 9-
digit social security number displayed on the Notice of Meeting of Creditors to be accurate.

  X If petitioner is an individual whose debts are primarily consumer debts and who has chosen to file under a chapter: I am
aware that I may proceed under chapter 7, 11, 12 or 13 of Title 11, United States Code, understand the relief available under each
chapter, and choose to proceed under this chapter. I request relief in accordance with the chapter specified in this petition. I (WE)
and, the undersigned debtor(s), hereby declare under penalty of perjury that the information provided in the electronically filed
petition, statements, and schedules is true and correct.

   If petitioner is a corporation or partnership: I declare under a penalty of perjury that the information provided in the
electronically filed petition is true and correct, and that I have been authorized to file this petition on behalf of the debtor. The debtor
requests relief in accordance with the chapter specified in this petition.

    If petitioner files an application to pay filing fees in installments: I certify that I completed an application to pay the filing fee
in installments. I am aware that if the fee is not paid within 120 days of the filing date of filing the petition, the bankruptcy case may
be dismissed and, if dismissed, I may not receive a discharge of my debts.


       October 6, 2014
Dated: _____________________________

        /s/Luisa F. Campbell
Signed: _______________________________________                              ______________________________________________
                     (Applicant)                                                            (Joint Applicant)


PART II - DECLARATION OF ATTORNEY

          I declare under penalty of perjury that the debtor(s) signed the petition, schedules, statements, etc., including the
Statement of Social Security Number(s) (Official Form B21) before I electronically transmitted the petition, schedules, and statements to
the United States Bankruptcy Court, and have followed all other requirements in Administrative Orders and Administrative Procedures,
including submission of the electronic entry of the debtor(s) Social Security number into the Court’s electronic records. If an individual, I
further declare that I have informed the petitioner (if an individual) that [he or she] may qualify to proceed under chapter 7, 11, 12 or 13
of Title 11, United States Code, and have explained the relief available under each chapter. This declaration is based on the information
of which I have knowledge.

       October 6, 2014
Dated: ______________________                                                     /s/DanielL.Wilder
                                                           Attorney for Debtor(s) _________________________________________
                                                                                   Daniel L. Wilder
                                                                                   _________________________________________
                                                           Address of Attorney     Attorney at Law, 544 Mulberry Street, Suite 800
                                                                                   _________________________________________
                                                                                   Macon, Georgia 31201-2776
                                                                                   _________________________________________
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                                   Applied Bank
                                   4700 Exchange Court
                                   Boca Raton, FL 33431-0966


                                   AT&T
                                   c/o Bankruptcy
                                   1801 Valley View Lane
                                   Farmers Branch, TX 75234


                                   Banfield Pet Hospital
                                   4551 Billy Williamson Drive
                                   Macon, GA 31206


                                   Cecil Perkins
                                   c/o Charles Bridges
                                   101 Marietta Street, Ste. 3100
                                   Atlanta, GA 30303


                                   Certus Bank
                                   501 Walnut Street
                                   Macon, GA 31202



                                   Credit Bureau Associates
                                   420 College Street
                                   Macon, GA 31201-6707



                                   Direct TV Customer Service
                                   P. O. Box 6550
                                   Greenwood Village, CO 80155-6550



                                   Dish Network
                                   9601 S Meridian Blvd.
                                   Englewood, CO 80112



                                   Diversified Consultants
                                   P. O. Box 551268
                                   Jacksonville, FL 32255
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                                   Emergency Physicians Group
                                   2000 Green Road, Ste. 300
                                   Ann Arbor, MI 48105-1571



                                   Enhanced Recovery Company
                                   P. O. Box 57547
                                   Jacksonville, FL 32241



                                   EOS CCA
                                   700 Longwater Drive
                                   Norwell, MA 02061



                                   Fidelity Creditor Services
                                   216 S. Louise Street
                                   Glendale, CA 91205



                                   Fingerhut Direct Marketing
                                   6509 Flying Cloud Drive
                                   Eden Prairie, MN 55344



                                   First American Payment Systems
                                   100 Throckmorton Street, Ste. 1800
                                   Fort Worth, TX 76102



                                   Franklin Collection Service
                                   2978 W Jackson Street
                                   Tupelo, MS 38803


                                   GA Department of Revenue
                                   Bankruptcy Section
                                   1800 Century Blvd, NE Ste 17200
                                   Atlanta, GA 30345


                                   GE Money Bank
                                   Bankruptcy Department
                                   P. O. Box 103104
                                   Atlanta, GA 30328
Case 14-52385   Doc 1   Filed 10/06/14 Entered 10/06/14 17:09:46   Desc Main
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                                   Georgia Auto Pawn, Inc.
                                   4313 Pio Nono Avenue
                                   Macon, GA 31206


                                   Georgia Lottery Commission
                                   250 Williams Street
                                   Suite 3000
                                   Atlanta, GA 30303


                                   HSBC Bank
                                   111 N. Town Center Drive
                                   Las Vegas, NV 89144



                                   HSBC Bank
                                   1111 N. Town Center Drive
                                   Las Vegas, NV 89144



                                   IC Systems Collections
                                   P. O. Box 64378
                                   Saint Paul, MN 55164-0378



                                   Internal Revenue Service
                                   P. O. Box 7346
                                   Philadelphia, PA 19101-7346



                                   Jefferson Capital System
                                   16 McLeland Road
                                   Saint Cloud, MN 56303



                                   Jefferson Capital System
                                   16 McLeland Road
                                   Saint Cloud, MN 56303


                                   Kqazi Enterprise
                                   Rahil Kazi, Registered Agent
                                   1707 Watson Blvd.
                                   Warner Robins, GA 31093
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                                   Kqazi Enterprises, Inc.
                                   c/o Fred Godwin
                                   1512 Watson Blvd.
                                   Warner Robins, GA 31093


                                   Midland Funding, LLC
                                   8875 Aero Dr., Suite 200
                                   San Diego, CA 92123



                                   Midland Funding, LLC
                                   8875 Aero Drive, Ste. 200
                                   San Diego, CA 92123



                                   Midland Funding, LLC
                                   8875 Aero Drive, Ste. 200
                                   San Diego, CA 92123



                                   Mini-Food Stores, Inc.
                                   508 HIll Crest Industrial Blvd.
                                   Macon, GA 31204



                                   NCO Financial Systems
                                   P. O. Box 4935
                                   Trenton, NJ 08650



                                   Road Runner Seafood
                                   548 E. Crawford Street
                                   Colquitt, GA 39837



                                   Salute Visa Gold
                                   P. O. Box 790183
                                   St. Louis, MT 63179-0183


                                   Star Coin, Inc.
                                   c/o Paul Oliver & Kathleen Jennings
                                   Suite 400, Lenox Towers
                                   3400 Peachtree Road, NE
                                   Atlanta, GA 30376
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                                   State Bank
                                   2918 Riverside Drive
                                   Macon, GA 31210



                                   TitleMax
                                   1901 Watson Blvd.
                                   Warner Robins, GA 31093



                                   T-Mobile
                                   P. O. Box 37380
                                   Albuquerque, NM 87176-7380



                                   Transworld Systems, Inc.
                                   400 Lakeside Drive, Suite 200
                                   Horsham, PA 19044



                                   Verizon Wireless
                                   P. O. Box 26055
                                   Minneapolis, MN 55426
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                                                                   UNITED STATES BANKRUPTCY COURT



In re:                                                                                                                    Case No.
         Luisa F. Campbell
                                                                                                                          Chapter    13

                                                       APPLICATION/ORDER FOR FEES
                                                            Memorandum of Receipts and Disbursements;
                                                      Statement of Attorney Pursuant to Bankruptcy Rule 2016(b);
                                                                          and Order Thereon

TO THE HONORABLE BANKRUPTCY JUDGE:

Applicant hereby makes application for fees and represents that the fee arrangement in this proceeding is as follows:

1. That Applicant, as attorney for the debtor, has performed all services necessary for the confirmation of the Debtor's Plan. The
services include interviews with debtor; the preparation and filing of the Debtor's Petition, Chapter 13 Statement, Plan and
Plan Analysis; and appearance at the § 341 meeting and confirmation hearing.

2. That Applicant believes a reasonable fee for said services to be        $3,000.00           and prays that said fee be approved and allowed.

3. That Applicant has received payments from the debtor and made disbursements on behalf of the debtor, as follows:
                         Total Received                                         $3,335.00
                         Disbursements:
                                Filing fee                                                      $310.00
                                Trustee
                                                                                                  $0.00
                                Other
                                                                                                  $0.00                       $310.00
                         Total Disbursements:
                         Amount applied to attorneys' fees                                                                   $3,025.00
                         Balance of attorneys' fees                                                                            $-25.00
The total amount of money paid to attorney on behalf of debtor within one (1) year of the date of filing is the sum of   $0.00
including fees reserved for Chapter 13.
4. That in addition to the foregoing statements, Applicant makes the following statements pursuant to Bankruptcy Rule 2016(b):

         (a) The details set forth by the debtor herein in the Chapter 13 Statement concerning compensation paid and compensation
promised to be paid to his attorney of record is a true, complete and accurate statement of the agreement between the debtor
and the attorney of record for legal services rendered and to be rendered herein.

         (b) The source of the monies paid by the debtor to the attorney of record to the best of the knowledge and belief of said

attorney was: Wages        and earnings


         (c) The attorney of record has not shared or agreed to share, other than with members of the law firm or corporation,
any of said compensation with any other person except: None




 Dated:      October 6, 2014                                     /s/DanielL.Wilder
                                                                 Daniel L. Wilder
                                                                Attorney for Debtor
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                                                 UNITED STATES BANKRUPTCY COURT
                                                           Middle District of Georgia


         Luisa F. Campbell
In re:                                                                                               Case No.
                                              Debtors
                                                                                                     Chapter    13


                                     VERIFICATION OF CREDITOR MATRIX
              The above named debtor(s), or debtor’s attorney if applicable, do hereby certify under penalty of perjury that the
         attached Master Mailing List of creditors is complete, correct and consistent with the debtor's schedules pursuant to
         Local Bankruptcy Rules and I/we assume all responsibility for errors and omissions.




         Dated:      October 6, 2014                                          Signed:   /s/Luisa F. Campbell




         Dated:                                                               Signed:
